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                  UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION

RESTAURANT LAW CENTER, et al.,
                Plaintiffs,
           v.                              Civil Action No. 21-1106 (RP)
U.S. DEPARTMENT OF LABOR, et al.,
                Defendants.



                DEFENDANTS’ OPPOSITION TO
    PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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                                      INTRODUCTION

       The Fair Labor Standards Act (“FLSA”) charges the Department of Labor with ensuring

that America’s workers receive the wages to which they are lawfully entitled. Tipped workers,

such as restaurant servers and bartenders, are among the most vulnerable workers that the

Department protects, in large part because of the manner in which they may be paid. Employers

may pay tipped workers a reduced direct wage of as little as $2.13 per hour and use a portion of

the workers’ tips as a credit towards the minimum wage. This common practice is referred to as

an employer taking a “tip credit.” This credit is available to employers only when certain

requirements are met, including that the employee for whom the credit must be “engaged in an

occupation” in which the employee customarily and regularly earns a significant amount of tips.

29 U.S.C. § 203(t).

       When employers assign tipped employees non-tipped work that is not part of their tipped

occupation—such as having a server prepare food or clean bathrooms—those employees do not

have the opportunity to earn tips during that time. Permitting a tip credit for the time tipped

employees engage in such non-tipped work would effectively allow employers to appropriate the

tips that those workers earn to subsidize other activities. Rather than paying the full minimum

wage to a janitor, an employer could instead pay a server $2.13 per hour to clean bathrooms by

relying on the tips that the server earns when they are waiting tables.

       In response to this potential abuse, the Department of Labor issued guidance three decades

ago explaining that employers could take a tip credit only when tipped employees perform duties

that are part of their tipped occupation. That guidance created a tolerance—limited to twenty

percent of the workweek—for the amount of non-tipped duties related to their occupation that

tipped employees could perform before the employer would lose the ability to take a tip credit.

The guidance, which became known as the 80/20 Rule (even though it was not actually
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promulgated as a regulation), was overwhelmingly upheld by courts as an appropriate

implementation of the FLSA. Then, in 2018, the Department of Labor issued updated guidance

rescinding the 80/20 guidance, which met with near-universal rejection by federal courts. In 2020,

the Department finalized a rule codifying its rescission of the 80/20 guidance. In 2021, however,

the Department delayed the effectiveness of that rule and ultimately withdrew it. In its place, the

Department finalized a new rule that essentially reestablishes by regulation the 80/20 guidance,

but clarifies the prior guidance and adds additional protections. This rule went into effect on

December 28, 2021. Plaintiffs now seek to preliminarily enjoin it.

       Plaintiffs do not meet their burden to obtain the extraordinary remedy they seek. For one

thing, they cannot show that they are likely to succeed on their claims that the new rule is contrary

to law or arbitrary and capricious. Like the 80/20 guidance, the current rule—this time

promulgated after notice and the consideration of extensive comments—is a sound exercise of the

Department of Labor’s authority and discretion to establish when an employee is “engaged in an

occupation” in which one receives significant tips, which is the only time an employer may take a

tip credit. 29 U.S.C. § 203(t). The rule also comports with the overall purpose of the FLSA,

particularly its more recent protections ensuring that employers do not appropriate their

employees’ tips. Id. § 203(m). The Department provided rational reasons for the rule. Plaintiffs’

argument that the rule is arbitrary ignores rather than confronts those reasons and fails as a result.

       Plaintiffs also fail to show the irreparable harm necessary for injunctive relief. They claim

that some (largely unidentified) restaurants will incur costs to prepare for the rule. Plaintiffs are

too late. The rule has already gone into effect, costs to prepare for it have already been incurred,

and enjoining it now would only serve to sow confusion. Plaintiffs also overstate the ongoing

monitoring and compliance costs associated with the rule and fail to acknowledge that, even before



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this rule went into effect, significantly similar monitoring and compliance costs were already

necessary to comply with the longstanding 80/20 guidance, as previously enforced by the

Department and later applied by the courts. The declarations are also not sufficiently detailed or

specific to warrant the dramatic remedy of a preliminary injunction.

       Even if Plaintiffs could show likely success and irreparable harm, the Court should still

decline to issue an injunction because of the outsized harm that an injunction would inflict upon

restaurant workers, who would lose a significant amount of earnings and who are already being

asked to perform increased amounts of non-tipped work at reduced direct wages as a result of the

ongoing pandemic.

       Finally, even were an injunction appropriate, the “nationwide” injunction that Plaintiffs

seek clearly is not. Injunctive relief should be tailored to the parties and harm demonstrated in

support thereof, and Plaintiffs’ cited harm does not come close to justifying such an expansive

measure. Indeed, a nationwide injunction of the rule would be particularly inappropriate here

because it would conflict with precedents in three other circuit courts of appeals that have endorsed

the highly similar approach to implementation of the FLSA that the Department of Labor adopted

in the 80/20 guidance.

       For these reasons, the motion for a preliminary injunction should be denied.

                                       BACKGROUND

       A.      Statutory Background

       Congress passed the FLSA in 1938 to correct and eliminate what it found to be “labor

conditions detrimental to the maintenance of the minimum standard of living necessary for health,

efficiency, and general wellbeing of workers.” Pub. L. No. 75-718, § 2, 52 Stat. 1060, 1060 (1938).

A key provision of the FLSA requires employers to pay their employees a minimum wage. Id.

§ 6(a), 52 Stat. at 1062 (codified as amended at 29 U.S.C. § 206(a)).
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       The original version of the FLSA exempted several industries from its minimum-wage

requirements. Pub. L. No. 75-718, § 13, 52 Stat. at 1067. In 1966, however, Congress amended the

FLSA to substantially extend its protections to additional employees, including many in the

restaurant industry. Pub L. No. 89-601, § 201, 80 Stat. 830, 833 (1966). In doing so, Congress

confronted the question of whether tips received by certain restaurant workers from a source other

than their employers (i.e., from customers) should be counted as wages and credited toward the

employers’ minimum-wage obligation. See S. Rep. No. 89-1487, at 12–13 (1966); H.R. Rep. No.

89-1366, at 19–20 (1966).

       Congress’s answer to this question was to permit employers to take only a partial credit

toward the minimum-wage requirement based on the amount of tips received by tipped employees.

Thus, the amended version of the FLSA allows an employer to pay a “tipped employee” a direct

wage of only $2.13 per hour and take a credit of up to $5.12 per hour if the employee’s tips are

sufficient to fulfill the remainder of the current $7.25 minimum wage. See 29 U.S.C.

§ 203(m)(2)(A). The statute defines a “tipped employee” as “any employee engaged in an

occupation in which he customarily and regularly receives more than $30 a month in tips.” Id.

§ 203(t). The statute does not define the term “occupation,” nor does it specify what it means to be

“engaged” in an occupation. Congress authorized the Department of Labor to implement these

amendments through regulations. Pub L. No. 89-601, § 602, 80 Stat. at 844.

       Since 1966, the FLSA has been further amended with protections to ensure that tipped

employees receive the value of the tips they earn. In order to take the tip credit, an employer must

inform its tipped employees of the FLSA’s applicable wage provisions and ensure that “all tips

received by such employee have been retained by the employee” (except where there is a

permissible pooling arrangement among tipped employees). 29 U.S.C. § 203(m)(2)(A)(ii). Further,



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since 2018, whether taking a tip credit or not, an employer of tipped employees “may not keep tips

received by its employees for any purposes, including allowing managers or supervisors to keep

any portion of employees’ tips.” Id. § 203(m)(2)(B).

       B.      Regulatory Background

               1.     The 1967 Rule

       The Department of Labor’s Wage and Hour Division first promulgated regulations

implementing the FLSA’s tip provisions the year after they were enacted. 32 Fed. Reg. 13575

(Sept. 28, 1967). As early as that first rulemaking, the Department sought to address the problem

of an employee who is “employed in a dual job”—in other words, the employee does work for

which they do not receive tips (such as maintenance) and work for which they do receive tips (such

as waiting tables). Id. at 13580. The Department’s initial regulation stated that such an employee

“is a tipped employee only with respect to his employment as a waiter” and that “no tip credit may

be taken for his hours of employment in his occupation as a maintenance man.” Id. at 13580–81.

The Department distinguished this situation from that where a server “spends part of her time

cleaning and setting tables, toasting bread, making coffee and occasionally washing dishes and

glasses,” concluding that such “related duties” a tipped occupation need not themselves be

“directed toward producing tips.” Id. at 13581 (codified at 29 C.F.R. § 531.56(e) (2020)).

       Between 1979 and 1985, the Department of Labor issued three opinion letters interpreting

and applying the 1967 dual jobs regulation. First, in 1979, it considered whether a restaurant

employer could take a tip credit for time that a server spent preparing vegetables for a salad bar.

Ex. 1, WHD Opinion Letter FLSA-895 (Aug. 8, 1979). The Department opined that, although

servers are generally employees who customarily and regularly receive tips, the employer could




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not take a tip credit for the specific hours when the server performed “salad preparation activities”

because those activities “are essentially the activities performed by chefs.” Id.

       Second, in 1980, the Department of Labor addressed a situation in which servers performed

non-tipped duties such as storing condiments in a cooler, cleaning and resetting tables (including

filling salt and pepper shakers), cleaning and stocking a server station, and vacuuming the carpet

after the restaurant closed. Ex. 2, WHD Opinion Letter WH-502 (Mar. 28, 1980). The Department

concluded that, “[i]nsofar as the after-hours cleanup [described] are assigned generally to the

waitress/waiter staff, we believe that such duties constitute tipped employment within the meaning

of the regulation.” Id. The Department noted, however, that it “might have a different opinion if

the facts indicated that specific employees were routinely assigned, for example, maintenance-type

work such as floor vacuuming.” Id.

       Finally, in 1985, the Department of Labor issued an opinion letter addressing whether an

employer could take a tip credit for various “salad bar and dining room set-up duties” assigned to

one of two to four servers on a daily shift. Ex. 3, WHD Opinion Letter FLSA-854 (Dec. 20, 1985).

Citing its 1979 letter, the Department reiterated that “salad preparation activities are essentially the

activities performed by chefs and no tip credit may be taken for the time spent in preparing

vegetables for the salad bar.” Id. It also reiterated, as indicated by the 1980 letter, that the “tip

credit could be taken for non-salad bar preparatory work or after-hours clean-up if such duties are

incidental to the waiter or waitress regular duties and are assigned generally to the waiter/waitress

staff.” Id. Under the facts presented, however, the Department determined that the employer could

not take a tip credit for the time spent setting up the dining room because (1) “only one waiter or

waitress is assigned to perform all preparatory activities,” (2) the “opening waiter or waitress’

responsibilities extend to the entire restaurant rather than to the specific area or customers which



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they serve,” and (3) “the activities performed prior to the opening of the restaurant consume a

substantial portion of the waiter or waitress’ workday.” Id.

       In 1988, the Department of Labor’s Wage and Hour Division updated its Field Operations

Handbook to incorporate and refine the policy established by these three opinion letters. As

revised, the Handbook permitted a tip credit “for time spent in duties related to the tipped

occupation, even though such duties are not by themselves directed toward producing tips,” so

long as those duties are “incidental” and “generally assigned.” Ex. 4, WHD Field Operations

Handbook (“FOH”) Rev. 563 § 30d00(e). Critically, however, the Handbook stated that where

“tipped employees spend a substantial amount of time (in excess of 20 percent) performing general

preparation work or maintenance, no tip credit may be taken for the time spent in such duties.” Id.

This policy, though not a regulation, became known as the “80/20 Rule” and established a

substantial but limited tolerance for related, non-tipped work, recognizing that if a tipped employee

performs too much of this work, the employee is no longer engaged in a tipped occupation.

       Courts of appeals in both the Eighth and the Ninth Circuits have deferred to the Department

of Labor’s 80/20 guidance, rejecting arguments that the twenty percent tolerance was contrary to

the dual jobs regulation and the underlying statute. See Marsh v. J. Alexander’s LLC, 905 F.3d 610,

625 (9th Cir. 2018) (en banc) (“The [Department of Labor’s] interpretation is consistent with

nearly four decades of interpretive guidance and with the statute and the regulation itself.”); Fast

v. Applebee’s Int’l, Inc., 638 F.3d 872, 879–81 (8th Cir. 2011) (concluding that Congress had

granted the Department of Labor discretion to implement 29 U.S.C. § 203(t) by regulation and that

“the 20 percent threshold used by the [Department of Labor] in its Handbook is not inconsistent

with § 531.56(e) and is a reasonable interpretation of the terms ‘part of [the] time’ and

‘occasionally’ used in that regulation.”).



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       Then, in 2018 and 2019, the Department of Labor (under the prior administration) issued

an opinion letter and updated handbook rescinding its longstanding 80/20 guidance. Ex. 5, WHD

Opinion Letter FLSA2018-27 (Nov. 8, 2018); Ex. 6, WHD FOH Rev. 767 (Feb. 15, 2019). Under

this guidance, any duties listed in the Occupational Information Network (“O*NET”)—a database

of descriptive occupational information published by the Department of Labor’s Employment and

Training Administration—would be considered “directly related to the tip-producing duties” of an

occupation, and no limitation would be placed on the amount of time employees spent performing

those potentially non-tipped duties, so long as they were performed “contemporaneously with” or

“for a reasonable time immediately before or after” the employee’s duties involving direct service

to customers. Ex. 5, WHD Opinion Letter FLSA2018-27 at 4.1 The opinion letter did not specify

what would constitute a “reasonable time.”

       In private litigation by employees, courts largely refused to defer to the 2018 and 2019

guidance. Instead, they continued to apply a twenty-percent tolerance to related duties, as set forth

in the 80/20 guidance. See Rafferty v. Denny’s, Inc., 13 F.4th 1166, 1179 (11th Cir. 2021)

(concluding that the 2018 opinion letter is not a reasonable interpretation of the 1967 regulation,

declining to defer to it, and instead applying a twenty-percent limitation on the hours that a tipped

employee may perform non-tipped related tasks); Roberson v. Texas Roadhouse Mgmt. Corp., Civ.

A. No. 19-0628, 2020 WL 7265860, at *6 (W.D. Ky. Dec. 10, 2020) (joining “the majority of other

district courts in refusing to afford any deference” to the 2018 opinion letter); see also Ex. 7, Nat’l

Rest. Ass’n, Tips on Tipping (May 13, 2021) (noting that, even prior to the challenged rule, the




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        The 2018 opinion letter reissued an opinion letter originally dated on January 16, 2009,
which had briefly rescinded the 80/20 guidance. 86 Fed. Reg. 60114, 60117 (Oct. 29, 2021). The
2009 opinion letter was soon withdrawn on March 2, 2009, and the Department of Labor returned
to the 80/20 guidance until 2018. Id.
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“80/20 Rule” was applied to “prohibit[] restaurants from taking a tip credit for time an employee

spends on side work tasks—such as rolling silverware or setting up for a shift—if that time exceeds

20% of the employee’s working time”).

               2.      The 2020 Rule

       In late 2020, and in the face of courts almost without exception refusing to defer to the

2018 and 2019 guidance, the Department of Labor finalized a regulation that would largely codify

its opinion letter rescinding the 80/20 guidance. 85 Fed. Reg. 86756 (Dec. 30, 2020). This 2020

final rule amended 29 C.F.R. § 531.56(e) to provide that

               an employer may take a tip credit for all non-tipped duties an
               employee performs that meet two requirements. First, the duties
               must be related to the employee’s tipped occupation; second, the
               employee must perform the related duties contemporaneously with
               the tip-producing activities or within a reasonable time immediately
               before or after the tipped activities.

Id. at 86767. The final rule also stated that a non-tipped duty would be presumed to be related to a

tip-producing occupation if it is listed as a task of that occupation in O*NET. Id. at 86771. The

effective date for the final rule was March 1, 2021. Id. at 86756.

               3.      The 2021 Rule

       After the change in the administration, the Department of Labor extended the effective date

of the 2020 rule to December 31, 2021. 86 Fed. Reg. 11632 (Feb. 26, 2021) (extending the effective

date to April 30, 2021); 86 Fed. Reg. 22597 (Apr. 29, 2021) (extending the effective date for the

dual jobs part of the rule again to December 31, 2021). On June 23, 2021, the Department issued

a notice of proposed rulemaking to withdraw the 2020 rule and reaffirm quantitative limits on non-

tipped work, with improvements to the 80/20 guidance. 86 Fed. Reg. 32818 (June 23, 2021). The

Department finalized that rule on October 29, 2021, after making some significant adjustments in

response to comments from the restaurant industry and others. 86 Fed. Reg. 60114 (Oct. 29, 2021).


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       The 2021 final rule essentially reinstates and adds to the 80/20 guidance and clarifies its

application through new examples. Prior to the 2021 rule, § 531.56(e) read in full as follows:

               Dual jobs. In some situations an employee is employed in a dual
               job, as for example, where a maintenance man in a hotel also serves
               as a waiter. In such a situation the employee, if he customarily and
               regularly receives at least $30 a month in tips for his work as a
               waiter, is a tipped employee only with respect to his employment as
               a waiter. He is employed in two occupations, and no tip credit can
               be taken for his hours of employment in his occupation of
               maintenance man. Such a situation is distinguishable from that of a
               waitress who spends part of her time cleaning and setting tables,
               toasting bread, making coffee and occasionally washing dishes or
               glasses. It is likewise distinguishable from the counterman who also
               prepares his own short orders or who, as part of a group of
               countermen, takes a turn as a short order cook for the group. Such
               related duties in an occupation that is a tipped occupation need not
               by themselves be directed toward producing tips.

29 C.F.R. § 531.56 (2020). The final rule retains the longstanding requirement that, when an

individual is employed in both a tipped occupation and a non-tipped occupation, the tip credit is

available only for the hours the employee spends working in the tipped occupation. The final rule

also removes the exemplary tasks from subsection (e); revised examples are now included in and

conform to a new subsection (f). The revised subsection reads in full as follows:

               Dual jobs. In some situations an employee is employed in dual jobs,
               as, for example, where a maintenance person in a hotel also works
               as a server. In such a situation if the employee customarily and
               regularly received at least $30 a month in tips, for the employee’s
               work as a server, the employee is engaged in a tipped occupation
               only when employed as a server. The employee is employed in two
               occupations, and no tip credit can be taken for the employee’s hours
               of employment in the occupation of a maintenance person.

86 Fed. Reg. at 60157 (codified at 29 C.F.R. § 531.56(e)).

       The final rule also adds a new subsection (f), which largely codifies the 80/20 guidance,

adds a new 30-minute limitation, and clarifies the application of these provisions through

examples. Subsection (f) states that an employee is “engaged in a tipped occupation when the


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employee performs work that is part of the tipped occupation” and that an employer “may only

take a tip credit for work performed by a tipped employee that is part of the employee’s tipped

occupation.” 86 Fed. Reg. at 60157 (codified at 29 C.F.R. § 531.56(f)). The subsection then defines

“work that is part of the tipped occupation” as (1) work that “produces tips” and (2) work that

“directly supports tip-producing work, if the directly supporting work is not performed for a

substantial amount of time.” 86 Fed. Reg. at 60157 (codified at 29 C.F.R. § 531.56(f)(1)).

       The regulation broadly defines work that “produces tips” as “[a]ny work performed by a

tipped employee that provides service to customers for which the tipped employee receives tips,”

and includes as examples a server “providing table service, such as taking orders, making

recommendations, and serving food and drink” and a bartender “making and serving drinks,

talking to customers at the bar and, if the bar includes food service, serving food to customers.” 86

Fed. Reg. at 60157 (codified at 29 C.F.R. § 531.56(f)(2)).

       The regulation defines “directly supporting work” as work “performed by a tipped

employee in preparation of or to otherwise assist tip-producing customer service work,” and

includes as examples the following tasks, “when they are performed in preparation of or to

otherwise assist tip-producing customer service work and when they do not provide service to

customers”: a server’s “dining room prep work, such as refilling salt and pepper shakers and

ketchup bottles, rolling silverware, folding napkins, sweeping or vacuuming under tables in the

dining area, and setting and bussing tables” and a bartender “slicing and pitting fruit for drinks,

wiping down the bar or tables in the bar area, cleaning bar glasses, arranging bottles in the bar,

fetching liquor and supplies, vacuuming under tables in the bar area, cleaning ice coolers and bar

mats, making drink mixes, and filling up dispensers with drink mixes.” 86 Fed. Reg. at 60157

(codified at 29 C.F.R. § 531.56(f)(3)). As noted, an employer can take a tip credit for time spent



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on such directly supporting work so long as it is not performed for a substantial amount of time.

The final rule defines a substantial amount of time as work that “exceeds 20 percent of the hours

worked during the employee’s workweek” or that “[f]or any continuous period of time . . . exceeds

30 minutes.” 86 Fed. Reg. at 60158 (codified at 29 C.F.R. § 531.56(f)(4)).

       Finally, the rule states that work which is not part of a tipped occupation includes “any

work that does not provide service to customers for which tipped employees receive tips, and does

not directly support tip-producing work,” including, for example, a server “[p]reparing food,

including salads, and cleaning the kitchen or bathrooms” and a bartender “[c]leaning the dining

room or bathroom.” 86 Fed. Reg. at 60158 (codified at 29 C.F.R. § 531.56(f)(5)). The final rule

specifies that an employer may not take a tip credit for any time spent on work that is not part of

the tipped occupation. Id.

       The final rule took effect on December 28, 2021. 86 Fed. Reg. at 60114.

       C.      Procedural History

       The final rule was published on October 29, 2021. 86 Fed. Reg. 60114. Plaintiffs brought

this action more than one month later, on December 3, 2021. ECF No. 1. Several weeks after that,

on December 20, 2021, Plaintiffs moved for a preliminary injunction. ECF No. 12. The Court has

allowed Defendants until January 19, 2021, to file this opposition. ECF No. 16. Plaintiffs are

scheduled to file a reply on or before January 26, 2022, and the matter is set for oral argument on

February 9, 2022. Id.; see also ECF No. 18.

                                         STANDARDS

       A.      Preliminary Injunction

       A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. NRDC, 555 U.S. 7, 22 (2008).

The Fifth Circuit “frequently cautions” that “the decision to grant a preliminary injunction is to be
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treated as the exception rather than the rule.” House the Homeless, Inc. v. Widnall, 94 F.3d 176,

180 (5th Cir. 1996).

       To obtain a preliminary injunction, a movant must demonstrate

               (1) a substantial likelihood of success on the merits, (2) a substantial
               threat of irreparable injury if the injunction is not issued, (3) that the
               threatened injury if the injunction is denied outweighs any harm that
               will result if the injunction is granted, and (4) that the grant of an
               injunction will not disserve the public interest.

Janvey v. Alguire, 647 F.3d 585, 595 (5th Cir. 2011). Relief “should only be granted when the

movant has clearly carried the burden of persuasion” on all four requirements. Anderson v.

Jackson, 556 F.3d 351, 360 (5th Cir. 2009).

       B.      The Administrative Procedure Act

       Under the Administrative Procedure Act (“APA”), agency “actions, findings, and

conclusions” must be sustained unless they are “‘arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with the law’ or ‘unsupported by substantial evidence.’” W. Tex. LTC

Partners, Inc. v. Dep’t of Health & Human Servs., 843 F.3d 1043, 1046 (5th Cir. 2016) (citation

omitted); see also 5 U.S.C. § 706(2)(A)–(E)).

               1.      Contrary to Law

       Courts review an agency’s interpretation of a statute that it administers under the two-step

process set forth in Chevron, U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837

(1984). In some cases, courts begin with what is called “step zero,” which “asks whether Congress

delegated authority to make interpretations carrying the force of law.” Exelon Wind 1, LLC v.

Nelson, 766 F.3d 380, 406 n.3 (5th Cir. 2014) (citing United States v. Mead Corp., 533 U.S. 218,

226–27 (2001)).

       At Chevron step one, a court must first “ask ‘whether Congress has directly spoken to the

precise question at issue,” applying the “‘traditional tools of statutory interpretation,’ including
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‘text, structure, purpose and legislative history.”’ BNSF Ry. Co. v. United States, 775 F.3d 743, 751

(5th Cir. 2015) (first quoting Chevron, 467 U.S. at 842 n.8, then Citizens Coal Council v. Norton,

330 F.3d 478, 481 (D.C. Cir. 2003)). If Congress’s intent is clear, “that is the end of the matter”

and the Court “must give effect to the unambiguously expressed intent of Congress.” City of

Arlington v. FCC, 569 U.S. 290, 296 (2013) (quoting Chevron, 467 U.S. at 842–43). “But ‘if the

statute is silent or ambiguous with respect to the specific issue,” the analysis proceeds to step two,

where “the question for the court is whether the agency’s answer is based on a permissible

construction of the statute.’” Id. (quoting Chevron, 467 U.S. at 843).

               2.      Arbitrary and Capricious

       “An agency rule is arbitrary and capricious ‘if the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence before the agency,

or is so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.’” Tex. Oil & Gas Ass’n v. EPA, 161 F.3d 923, 933 (5th Cir. 1998) (quoting Motor Vehicle

Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). “If the agency’s reasons

and policy choices conform to minimal standards of rationality, then its actions are reasonable and

must be upheld.” Tex. Oil & Gas Ass’n, 161 F.3d at 934. The reviewing court “may not supply a

reasoned basis for the agency's action that the agency itself has not given.” State Farm, 463 U.S.

at 43. “[T]he focal point for judicial review should be the administrative record already in

existence, not some new record made initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138,

142 (1973).




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                                         ARGUMENT

I.     PLAINTIFFS ARE UNLIKELY TO SUCCEED ON THE MERITS.

       Plaintiffs argue that the rule is both contrary to the FLSA and arbitrary and capricious. They

have not established a substantial likelihood of success on either of these claims.

       A.      The rule is not contrary to law.

       Plaintiffs contend that the Department of Labor’s 2021 final rule is “in conflict with and

completely inconsistent with the plain language of the statute” because its “application of the tip

credit depends upon whether specific job duties directly and immediately produce tips.” Pls.’ Br.

at 8, 23–25.2 According to Plaintiffs’ reading of the FLSA, so long as an employee generally

receives more than $30 a month in tips, then the employer must be permitted to use that employee’s

tips to take a credit to the wages it pays that employee “regardless of whether or how much of the

time [the] employee perform[s] duties that directly and immediately produce tips.” Id. at 3–4. This

reading would, for example, entitle a restaurant to take a tip credit for a server—paying the

employee a direct cash wage as low as $2.13 an hour—even when the server works an entire shift

cleaning bathrooms, mowing the lawn, and washing dishes, without performing any tipped work

at all, so long as the server waits tables during some portion of the workweek.

       The plain text of the statute dictates no such thing. It broadly describes a “tipped employee”

for whom an employer may take a tip credit as one who is “engaged in an occupation in which he

customarily and regularly receives more than $30 a month in tips.” 29 U.S.C. § 203(t). The statute

then permits employers to take a tip credit for employees engaged in such a tipped occupation. Id.

§ 203(m). Congress did not specify what it means to be “engaged in” the requisite “occupation.”



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        Page references to Plaintiffs’ brief refer to the numbers at the bottom center of the pages,
not to the page numbers generated in the top-right corner by the ECF system.

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Instead, it provided the Department of Labor the authority and discretion to promulgate regulations

interpreting when an employee is engaged in a tipped occupation in a way that prevents abuse of

that provision. Pub. L. No. 89-601, § 602, 80 Stat. at 844.

       The Court should therefore reach step two of the Chevron analysis of the statutory text.

The rule survives at that step because the Department of Labor acted well within the FLSA’s

terms—and in fulfillment of its purposes—in generally prohibiting employers from taking a tip

credit for work that is not part of the tipped occupation and defining work that is part of the tipped

occupation to include work that produces tips and work that directly supports tip-producing work

so long as it is not substantial. It would defy any understanding of what it means to be “engaged

in” an “occupation” that receives tips to construe that language in a way that would, as Plaintiffs’

formulation does, deem a server to be so engages when the server spends an entire shift cleaning,

mowing, and dishwashing, while performing no duties that actually produce tips. Plaintiffs are

therefore unlikely to be successful on this claim.

               1.      The Secretary of Labor has authority to regulate tipped employment.

       Plaintiffs lead with the contention that Congress has not authorized the Secretary of Labor

to promulgate any regulations whatsoever regarding the FLSA’s provisions on tipped employees,

which they primarily characterize as a Chevron “step zero” question. Pls.’ Br. at 21–23. This

argument is contradicted by clear statutory language authorizing the Secretary to do exactly that.

       When Congress passed the FLSA amendments about tipped employees in 1966, it

explicitly “authorized [the Secretary] to promulgate necessary rules, regulations, or orders with

regard to [those] amendments.” Pub. L. No. 89-601, § 602, 80 Stat. at 844. The Department of

Labor cited this clearly applicable authority (among others) in promulgating the final rule at issue

here. 86 Fed. Reg. at 60157. Thus, Congress clearly “delegated authority to the agency generally



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to make rules carrying the force of law” and the final rule “was promulgated in the exercise of that

authority.” Mead, 533 U.S. at 226–27; see also Marsh, 905 F.3d at 621 (noting that “it is beyond

question that the [Department of Labor] promulgated the dual jobs regulation, 29 C.F.R. § 531.56,

in the exercise of its congressionally delegated authority” and citing Public Law No. 89-601).

Plaintiffs inexplicably ignore this obvious source of authority, which directly forecloses their

argument.

        Plaintiffs’ argument also confuses a so-called Chevron step zero question for what is

actually a Chevron step-two question. Plaintiffs highlight the Department of Labor’s contention in

the preamble of the final rule that Congress, by providing no specific definition, authorized the

agency to determine what it means to be “engaged in an occupation” that customarily and regularly

receives significant tips. Pls.’ Br. at 22 (citing 86 Fed. Reg. at 60114). Plaintiffs argue that the final

rule does not in fact determine what it means to be “engaged in an occupation” that customarily

and regularly receives significant tips, but instead determines what it means to be “engaged in a

tipped occupation,” which Plaintiffs inexplicably believe to be a materially different concept. Id.

at 22–23. At bottom, however, this simply amounts to an assertion that the final rule is not “based

on a permissible construction of the statute,” which is a question properly addressed at the second

step of the Chevron analysis, where deference is due to the agency. See 467 U.S. at 843.

        Plaintiffs’ argument is also textually untenable. The Department of Labor’s use of the term

“tipped occupation” in the regulation does not “supplant” the statutory definition with a

“completely different term.” Pls.’ Br. at 22–23, 28. In fact, there is no material difference in

meaning between the clause modifying the word “occupation” in the statute (“in which [an

employee] regularly and customarily receives more than $30 a month in tips”) and the participle

adjective modifying the word “occupation” in the regulation (“tipped”). They are simply two



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different grammatical ways of expressing essentially the same general concept—an occupation

that involves the receipt of significant tips. Thus, Plaintiffs’ cursory insistence—without any

reasoned analysis—that the statute’s grant of authority to regulate occupations “in which [an

employee] customarily and regularly receives more than $30 a month in tips” somehow implicitly

deprives the Department of any authority to regulate “tipped” occupations is baseless.

               2.      The FLSA does not speak directly to the precise question of what it means
                       to be engaged in a tipped occupation.

       Proceeding to step one of the Chevron analysis, the Court should first ask “whether

Congress has directly spoken to the precise question at issue” or whether the statute is ambiguous.

Chevron, 467 U.S. at 842. A statute is ambiguous if it is susceptible to more than one reasonable

interpretation or more than one accepted meaning. United Servs. Auto Ass’n v. Perry, 102 F.3d

144, 146 (5th Cir. 1996). Statutory construction begins with the language of the statute, “the

specific context in which that language is used, and the broader context of the statute as a whole.”

Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997). The Court may also consider the statute’s

purpose and its legislative history to ascertain Congress’s intent. Bellum v. PCE Constructors, Inc.,

407 F.3d 734, 739 (5th Cir. 2005).

       As noted, there is no question that Congress has directly authorized the Department of

Labor to promulgate regulations implementing the 1966 FLSA amendments regarding tipped

employees. See Pub. L. No. 89-601, § 602, 80 Stat. at 844; see also Marsh, 905 F.3d at 621. In

doing so, Congress empowered the Department to “work out the details” of the amendment’s broad

terms. Long Island Care at Home, Ltd. v. Coke, 551 U.S. 158, 165 (2007) (interpreting effectively

identical authorizing language in amendments made to the FLSA in 1974). Congress did not,

however, speak directly to what it means to be “engaged in an occupation” that customarily and

regularly receives the threshold amount of tips. 29 U.S.C. § 203(t). This conclusion stems from


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the FLSA’s “text, structure, purpose and legislative history.”’ BNSF Ry., 775 F.3d at 751 (quotation

marks omitted).

                       a.      Text

       The text of the statute contains ambiguities that the Department of Labor is entrusted to

clarify through regulation. It broadly defines a “tipped employee” as one who is “engaged in an

occupation” that customarily and regularly receives the threshold amount of tips. 29 U.S.C.

§ 203(t). As numerous courts have recognized, the ambiguity in this statutory language requires

deference to the Department of Labor’s regulations setting boundaries on when an employee is

and is not “engaged” in the requisite type of “occupation.” See Marsh, 905 F.3d at 621–23

(“Neither the plain language of the statute nor its legislative history suggest—much less clearly

demonstrate—that section 203(t) is unambiguous.”); Fast, 638 F.3d at 876–77 (noting that

“occupation” is not defined in 29 U.S.C. § 203(t) and deferring to the Department of Labor’s

implementation of that provision in the prior version of 29 C.F.R. § 531.56(e)); Roberson, 2020

WL 7265860, at *4 (“Congress explicitly invited further regulation as to its new definition of the

term ‘tipped employee.’”); Belt v. P.F. Chang’s China Bistro, Inc., 401 F. Supp. 3d 512, 527 (E.D.

Pa. 2019) (“Because the statute does not define ‘engaged in an occupation,’ Congress has not

spoken to the precise question at issue and the statutory language is ambiguous.”).

       Notwithstanding the breadth of the statutory language and against the weight of this

authority, Plaintiffs insist that the words “engaged” and “occupation” in the statute unambiguously

dictate that the Department of Labor must permit employers to take a tip credit and pay an

employee a reduced direct wage based solely on the employee’s “field of work,” while totally

ignoring the “relative mix of specific tasks” performed by the employee. Pls.’ Br. at 23–25.




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       The dictionary definitions offered by Plaintiffs do not come close to dictating that result.

In fact, they fully support the Department of Labor’s approach. The most applicable parts of the

definitions of the word “occupation” that Plaintiffs have highlighted are “the principal business of

one’s life,” ECF No. 12-1 at 83,3 “one’s usual or principal work or business,” id. at 88, “that which

principally takes up one’s time, thought, and energies; especially one’s regular business or

employment,” id. at 93, and the “particular business, profession, trade, or calling which engages

[an] individual’s time and efforts, employment which one regularly engages or vocation of his

life,” id. These definitions establish the uncontroversial propositions that occupations are

distinct—i.e., “particular”—and involve different sets of associated activities—i.e., “usual,”

“principal,” or “regular” “work” or “business.” Thus, contrary to Plaintiffs’ argument, a specific

“mix of tasks” (i.e., the “work” or “business”) is key to defining an occupation. The en banc Ninth

Circuit recognized as much in rejecting an argument highly similar to the one advanced by

Plaintiffs here. See Marsh, 905 F.3d at 629 (“We find similarly unpersuasive Defendants’

contention that the Guidance’s focus on duties is ‘patently inconsistent’ with the dual jobs

regulation’s ‘occupation-based analysis.’ Defendants’ argument rests on an artificial distinction

between occupations and duties. One cannot define the former without some reference to the

latter.”) (citing Black’s Law Dictionary (10th ed. 2014) (defining “occupation” to mean “an

activity or pursuit in which a person engages”)).

       The statute refers to one distinct type of “occupation”: an occupation in which the

employee customarily and regularly receives a significant amount of tips. 29 U.S.C. § 203(t). And

it specifies that an employee is not a “tipped employee” for which an employer may take a tip




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credit unless the employee is “engaged” in (i.e., “busy or occupied” with, ECF No. 12-1 at 87)

such a tipped occupation. 29 U.S.C. § 203(t). The statute does not specify, however, the particular

work associated with such an occupation. Nor does it clarify how to tell whether an employee is

“engaged in” such work. Thus, the statute leaves it to the Department of Labor to “work out [these]

details” of precisely what it means to be “engaged in an occupation” where one receives significant

tips. See Long Island Care at Home, 551 U.S. at 165.

       In the final rule, the Department of Labor reasonably determined that the “principal work,”

ECF No. 12-1 at 88, of someone engaged in an occupation in which the employee customarily and

regularly receives tips is work that produces tips and work that directly supports tip-producing

work, so long as the directly supporting work is not performed for a substantial amount of time.

86 Fed. Reg. at 60157–58. Defining a tipped occupation in terms of the actual work associated

with that occupation is fully in line with the dictionary definitions of “occupation” presented by

Plaintiffs. And the Department acted pursuant to clear statutory requirements by specifying that an

employer may take a tip credit only when an employee is “engaged in” such an occupation by

performing that work.

                        b.    Structure and Purpose

       The structure and purpose of the FLSA also contradict Plaintiffs’ reading of the statute and

support the Department of Labor’s approach in the final rule. Under Plaintiffs’ reading, the FLSA

unambiguously entitles a restaurant employer to take a tip credit for any and all work that it

instructs an employee whom it labels a server or bartender to perform, regardless of whether or

not that work produces tips or directly supports tip-producing work. This would mean that a

restaurant could use the tips earned by a server during one shift to subsidize a reduced direct cash

wage to that server of as low as $2.13 an hour for a separate shift in which the employee works



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the entire time cleaning bathrooms, mowing the lawn, and washing dishes, without performing

any tip-producing work at all.

       Such a result would undermine a key purpose of the FLSA’s tip provisions as a whole,

which is to ensure that tipped employees who are paid a reduced direct wage receive the value of

the tips they earn from tip-producing work and to forbid employers from appropriating tipped

employees’ tips for themselves. The FLSA specifically prohibits employers from relying upon a

tip credit for a tipped employee “unless . . . all tips received by such employee have been retained

by the employee,” except where those tips are pooled with other traditionally tipped employees.

29 U.S.C. § 203(m)(2)(A). In other words, when an employer takes a tip credit for and therefore

pays a reduced cash wage to an employee engaged in a tipped occupation, the employer cannot

use the employee’s tips to subsidize work performed by employees in non-tipped occupations.

This provision was added in 1974 upon a finding that “the tipped employee should have greater

protection to ensure the fair operation” of the tip-credit provision and to “make clear the original

Congressional intent that an employer could not use the tips of a ‘tipped employee’ to satisfy more

than” the permitted amount of the FLSA’s minimum wage. S. Rep. No. 93-690, at 43 (1974).

       Expanding these protections even further, a 2018 amendment to the FLSA provides that

“[a]n employer may not keep tips received by its employees for any purposes, including allowing

managers or supervisors to keep any portion of employees’ tips, regardless of whether or not the

employer takes a tip credit.” Pub. L. No. 115-141, § 1201(a), 132 Stat. 348, 1148 (2018) (codified

at 29 U.S.C. § 203(m)(2)(B)).

       Plaintiffs’ reading of the “tipped” employee definition would undermine the purpose of

these protections by allowing employers effectively to use the tips an employee earns while

performing tip-producing work to subsidize reduced direct cash wages to that employee while



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performing extended work that neither produces tips nor directly supports tip-producing work. The

Department of Labor’s approach, by contrast, ensures that the FLSA’s protections for tipped

employees are fulfilled and that tipped employees do not have the value of their tips diluted by

being paid a reduced direct wage while performing substantial work that does not produce tips.

       Plaintiffs contend that the rule runs afoul of the FLSA’s “structure and overall statutory

scheme” because it would effectively eliminate the phrase “in which he customarily and regularly

receives more than $30 a month in tips.” Pls.’ Br. at 25 (quoting 29 U.S.C. § 203(t)). To the

contrary, the Department of Labor’s approach does not discard, but is consistent with the tip-related

modification of the term “occupation.” As explained above, the rule explains what it means to be

“engaged” in an “occupation” that receives a significant amount of tips. The rule provides that

being engaged in a tipped occupation means performing work that is part of the tipped occupation,

including tip-producing work, which provides service to customers for which the tipped employee

receives tips, and work that directly supports tip-producing work so long as it is not performed for

a substantial amount of time. Plaintiffs’ own insistence that the phrase “in which he customarily

and regularly receives at least $30 a month in tips” somehow demands a “binary” approach

whereby a server, simply by virtue of sometimes working as a server, must always be deemed to

be engaged in a tipped occupation—regardless whether they are actually performing the work of

a tipped employee—finds no support in the statutory structure.

                       c.      Legislative History

       In an attempt to buttress their position, Plaintiffs rely on Senate committee reports written

in connection with the 1966 amendments to the FLSA, which added the definition of “tipped

employee,” and legislative history concerning the 1974 amendments, which made no changes to

the definition of “tipped employee” whatsoever. Notwithstanding Plaintiffs’ arguments, and as one



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court has already held, “the FLSA’s legislative history does not evince an unambiguous

congressional intention to treat employees as tipped employees, regardless of their tasks or time

spent on untipped tasks.” Marsh, 905 F.3d at 622.

       Plaintiffs first note that the Senate report accompanying the 1966 amendments states that

the tip-credit provisions are “sufficiently flexible to permit the continuance of existing practices

with respect to tips” and “provide enough flexibility to account for a practice as inconsistent as

tipping.” Pls.’ Br. at 26 (citing S. Rep. No. 89-1487, at 12–13 (1966)). But Plaintiffs ignore the

context of these statements. The “existing practices” referred to in the report concern the actual

handling of tips, as shown by the examples, not the payment of a reduced wage for work that is

not part of a tipped occupation. Moreover, the sentiments expressed are antiquated. The report

states that the amendments would sustain the practice of an employer confiscating all of an

employee’s tips as receipts and paying that employee a full minimum wage. But that is no longer

permissible following the 2018 amendments, which prohibit an employer from keeping an

employee’s tips regardless of whether or not the employer takes a tip credit. Pub. L. No. 115 141,

§ 1201, 132 Stat. 348, 1148 (2018) (codified at 29 U.S.C. § 203(m)(2)(B)). The report also states

that the 1966 amendment would broadly permit tipped employees to pool tips with other

employees. S. Rep. No. 89-1487, at 12. But subsequent amendments require employers who take

a tip credit to limit tip pools to employees who traditionally receive tips. See Pub. L. No. 93-259,

§ 13, 88 Stat. 55 (1974). And the “flexibility” mentioned does not refer to flexibility for an

employer to take a tip credit for work outside the tipped occupation, but rather for an employee to

receive the full minimum wage from an employer during periods where the employee’s tips are

insufficient to equal or exceed the full minimum wage. S. Rep. No. 89-1487, at 13.




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       Plaintiffs also note that the Senate report for the 1966 amendments describes the definition

of a “tipped employee” as “analogous to the reporting requirement for a tipped employee under

the provisions of the Social Security Act of 1965.” Pls.’ Br. at 26 (quoting S. Rep. No. 89-1487, at

12). Plaintiffs imagine that this cross-reference somehow demands a “binary” approach whereby

employees with certain job titles must be deemed to be always “engaged” in a tipped “occupation,”

regardless of whether or not they are performing the work of a tipped occupation. But the reference

to the Social Security Act does not support this conclusion; it simply acknowledges that the $20

monthly minimum tip threshold in the original definition of “tipped employee” is the same as the

$20 monthly threshold for reportable cash tips in the Social Security Act. Compare Pub. L. No.

89-601, § 101(b), 80 Stat. 830, 830 (1966) (codified as amended at 29 U.S.C. § 203(t)) with Pub.

L. No. 89-97, § 313, 79 Stat. 286, 382 (1965) (codified at 42 U.S.C. § 409(a)(10)(B)).

       The legislative history surrounding the 1974 amendments also fails to advance Plaintiffs’

position. Plaintiffs first appear to claim that a Senate committee report defines an “occupation” in

terms of a job title and not in terms of regular work or business activities. Pls.’ Br. at 26. But the

passage cited by Plaintiffs’ addresses which employees may participate in a traditional tip pool

under provisions added to the FLSA in connection with that report, not how to determine whether

an employee is a tipped employee for purposes of the tip credit. S. Rep. No. 93-690, at 43 (1974).

For this reason, the Ninth Circuit has rejected Plaintiffs’ distorted reading of this committee report.

See Marsh, 905 F.3d at 622 (noting that ‘‘the legislation accompanying the 1974 report did not

make any changes to [29 U.S.C. §] 203(t)’’).

               3.      The rule is a permissible construction of the FLSA.

       At the second step of the Chevron analysis, the Court considers whether the rule “is based

on a permissible construction of the statute.’” City of Arlington, 569 U.S. at 296 (quoting Chevron,



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467 U.S. at 843). For all the reasons detailed above, it clearly is: It gives content to the statutory

ambiguity about what it means to be “engaged in an occupation” in which one receives a significant

number of tips. See supra pp. 19–21 (citing 29 U.S.C. § 203(t)). As the final rule recognizes, when

a tipped employee performs a substantial amount of directly supporting work that does not itself

produce tips, they cease to be “engaged” in a tipped “occupation.” See, e.g., 86 Fed. Reg. at 60115.

It also fits with the statutory purpose of ensuring that tipped employees who are paid a reduced

direct wage receive the value of their tips and that employers do not keep an employee’s tips “for

any purposes.” See supra pp. 21–23 (citing 29 U.S.C. § 203(m)(2)(B)).

        Indeed, in case after case, courts of appeals have concluded that the Department of Labor’s

prior 80/20 guidance—which, similar to the 2021 rule, is based on the idea that employers may

only take a tip credit for work that is directed towards producing tips and for a quantitatively

limited amount of other work related to the tipped occupation—is based on a permissible reading

of the statute’s definition of a “tipped employee.” First, in Fast v. Applebee’s International, Inc.,

the Eighth Circuit considered “whether servers and bartenders are ‘engaged’ in [tipped]

occupations when Applebee’s requires them to perform duties that do not directly result in a tip.”

638 F.3d 872, 876 (8th Cir. 2011). Similar to Plaintiffs here, Applebee’s argued that “the statute is

focused on the occupation, not the specific duties performed, such that it can take the tip credit for

the entirety of a server’s or bartender’s shift, as long as the employee received sufficient tips during

the shift to make up the difference between $2.13 per hour and $7.25 per hour, regardless of how

much time the employee spends performing tip-producing duties.” Id. The court roundly rejected

that argument, concluding instead that the twenty-percent tolerance on related duties was a

permissible construction of what it means to be “engaged in an occupation” that customarily and

regularly receives tips. Id. at 879.



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       Next, Marsh v. J. Alexander’s LLC was a group of fourteen consolidated cases in which

servers and bartenders alleged that their respective employers “abused the tip credit provision by

paying them the reduced tip credit wage and treating them as tipped employees when they were

engaged in either (1) non-tipped tasks unrelated to serving or bartending, such as cleaning toilets;

or (2) non-incidental tasks related to serving or bartending, such as hours spent cleaning and

maintaining soft drink dispensers in excess of 20% of the workweek.” 905 F.3d 610, 615 (9th Cir.

2018) (en banc). Like the Eighth Circuit in Fast, the en banc Ninth Circuit concluded that the

Department of Labor’s 80/20 guidance permissibly implemented the ambiguous term

“occupation” in the definition of “tipped employee.” Id. at 624. The court also observed that

allowing employers to use the tip credit as the Plaintiffs here seek to do “effectively makes tips—

intended as gifts to servers for their service—payments to employers instead, who use these tips

to minimize their obligations to pay employees the full minimum wage for time spent working in

a non-tipped occupation.” Id. at 615–16. That is precisely what the 2021 rule prevents.

       Finally, in the recent case Raffery v. Denny’s, Inc., a server claimed that her employer

required her to perform duties unrelated to serving customers, like cleaning refrigerators and

mopping, and duties related to serving tables but that do not produce tips, such as cleaning and

stocking drink stations. 13 F.4th 1166, 1170 (11th Cir. 2021). At the time of the court’s opinion,

the Department of Labor had rescinded the 80/20 guidance through the 2018 opinion letter. Id. at

1176. The court declined to defer to the opinion letter, however, concluding that it conflicted with

the version of the dual jobs regulation then in effect and that its dependence on O*NET—which

simply “asks employees what duties their employers are requiring them to perform”— to ascertain

duties related to tipped occupations “creates a risk that unlawful practices will become entrenched

in high-violation industries.” Id. at 1185. The court then concluded that a twenty-percent tolerance



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on related, non-tipped duties was the most appropriate application of the statute and regulation,

adding that “the dividing line between related and unrelated duties falls where untipped duties no

longer directly support tipped duties,” and applied this limitation to the case at hand. Id. at 1188–

90.4

       Against this tide of authority, Plaintiffs rely primarily on a district court case that has

nothing to do with tipped employees. Pls.’ Br. at 29–30 (citing Nevada v. Dep’t of Labor, 218 F.

Supp. 3d 520 (E.D. Tex. 2016)). The Nevada case dealt with an overtime-pay provision in the

FLSA, which exempts “any employee employed in a bona fide executive, administrative, or

professional capacity . . . (as such terms are defined and delimited from time to time by regulations

of the Secretary [of Labor]).” 29 U.S.C. § 213(a)(1). The district court preliminarily enjoined a

Department of Labor rule that it said defined such a capacity in a way that gave too much weight

to the employee’s salary level, concluding that the words “executive, administrative, or

professional” demanded principally a duties-based inquiry. 218 F. Supp. 3d at 529. But whether

the distinct rule in that case comported with the distinct statutory language at issue says essentially

nothing about the propriety of the rule challenged in this case.

       Plaintiffs also rely on a two-judge dissent from the en banc opinion in Marsh, which they

say sheds light on the definition of “tipped employee” in 29 U.S.C. § 203(t). Pls.’ Br. at 29–30. To

the contrary, Judge Ikuta was not considering “the statutory term ‘occupation,’” id. at 29; rather,



4
        Plaintiffs limit their discussion of the highly relevant decisions in Rafferty, Marsh, and Fast
to a single footnote in which they dismiss these cases as addressing only whether the Department
of Labor had properly interpreted its prior dual jobs regulation, and not “whether the Department’s
regulation conflicts with the FLSA.” Pls.’ Br. at 8 n.9. Plaintiffs are incorrect. The FLSA itself
was at issue in all three cases. The Rafferty court concluded that the 80/20 approach was indicated
by both the dual jobs regulation and “the text of the FLSA.” 13 F.4th at 1188. The Marsh court
held that the 80/20 guidance was “consistent . . . with the statute . . . itself.” 905 F.3d at 625. And
the Fast court rejected Applebee’s argument that the 80/20 guidance was “contrary to the express
language of the statute.” 638 F.3d at 875–76.
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she was discussing the term “occupation” as used in the prior dual jobs regulation and considering

whether the Department of Labor’s twenty-percent tolerance, set forth in subregulatory guidance,

was an interpretive rule based on that regulation or a legislative rule requiring notice and comment,

Marsh, 905 F.3d at 645 (Ikuta, J., dissenting). In any event, the two-judge dissent is not persuasive,

and its reasoning was properly rejected by the eleven-judge en banc majority, which—like every

other circuit court to have considered the issue—concluded that the 80/20 guidance is an

appropriate implementation of the FLSA. Id. at 624.

       B.      The rule is not arbitrary and capricious.

       Plaintiffs also argue that the rule is arbitrary and capricious in several respects. Pls.’ Br. at

30–36. First, they accuse the Department of failing to conduct “fact finding” regarding the “real-

world duties” of occupations in which employees receive tips and whether or not the “the supposed

problem” set forth in comments by employees “actually exists.” Id. at 30–31. Plaintiffs cite no

legal authority associated with this argument and, indeed, it is flawed as a matter of law. The Fifth

Circuit has recognized that an agency “need not make findings of fact in the conventional sense in

an [informal rulemaking].” Superior Oil Co. v. FERC, 563 F.2d 191, 200 (5th Cir. 1977); see also

Off. of Commc’n of United Church of Christ v. FCC, 707 F.2d 1413, 1437 (D.C. Cir. 1983) (“In an

informal rulemaking proceeding the Commission is not required to justify its cost-benefit analysis

by citing to findings of fact in the record. The decision is more in the nature of a policy judgment

that does not require, and indeed is not susceptible of, complete factual support.”). Instead, the

question for the Court is whether the “agency’s reasons and policy choices conform to minimal

standards of rationality,” in which case they “must be upheld.” Tex. Oil & Gas Ass’n, 161 F.3d at

934.




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       The Department of Labor’s reasons and choices for this rule are eminently rational and are

explained in detail in the preamble to the final rule, 86 Fed. Reg. 60126, which Plaintiffs largely

ignore. In summary, the Department noted that because tipped employees can receive as little as

$2.13 per hour in direct cash wages, they earn relatively low wages and “are among the most

vulnerable workers that the Department protects.” 86 Fed. Reg. at 60120–21; see also id. at 60124

(“[P]articularly where the FLSA permits employers to compensate their tipped employees as little

as $2.13 an hour directly, providing protections to ensure that this reduced direct wage is only

available to employers when employees are actually engaged in a tipped occupation within the

meaning of section 3(t) of that statute is essential to prevent abuse.”). The Department also

explained that it received several comments from individuals who worked as tipped employees,

who explained that they were required to perform non-tipped work for hours at a time while

receiving reduced direct cash wages, despite being unable to earn tips during that time. Id. at

60120, 60122.

       In light of the “need to ensure that workers do not receive a reduced direct cash wage when

they are not engaged in a tipped occupation, as well as the practical concerns of employers,” id. at

60121, the Department of Labor adopted a “functional test” to determine when an employee is

performing the work of a tipped occupation. Id. at 60126. This test “applies to all manner of tipped

occupations, a feat that would be difficult, if not impossible, to achieve with a fixed list of duties

for particular tipped occupations,” and it “allows for better flexibility and adaptability to

categorize” new duties as they arise. Id. at 60126. This, along with the additional explanation set

forth in the preamble to the final rule, serves as a more than rational basis for the agency’s policy

choices. See Tex. Oil & Gas Ass’n, 161 F.3d at 934.




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       Second, Plaintiffs criticize the Department of Labor for not employing O*NET as a

definitive source of tasks the performance of which constitutes being “engaged in an occupation”

in which one receives significant tips. Pls.’ Br. at 31–32. Here again, the Department’s policy

choice easily surpasses “minimal standards of rationality.” Tex. Oil & Gas Ass’n, 161 F.3d at 934.

As the Department explained, O*NET “only reflects what tipped employees are required to do for

their employers, not the tasks that actually make up part of their tipped occupation, and is

consequently not a helpful tool to use in determining whether an employee is engaged in their

tipped occupation.” 86 Fed. Reg. at 60127. Multiple courts expressed this same concern in

response to the 2018 opinion letter replacing the 80/20 guidance with an approach based on

O*NET. See Rafferty, 13 F.4th at 1185 (concluding that use of the O*NET “creates a risk that

unlawful practices will become entrenched in high-violation industries by setting up a fox-

guarding-the-henhouse situation: simply by requiring tipped employees to perform untipped

duties—whether those duties are, in fact, related or not to their tipped duties—employers

effectively render the untipped duties ‘related.’’’); O’Neal v. Denn-Ohio, LLC, Civ. A. No.

19-0280, 2020 WL 210801, at *7 (N.D. Ohio Jan. 14, 2020) (“If employers assign tipped

employees duties traditionally performed by non-tipped employees, the O*NET definitions will

reflect this and the protections established by the dual jobs regulation will erode. An interpretation

of the dual jobs regulation that would allow employers to re-write the regulation without going

through the normal rule-making process cannot be a reasonable one.”). The Department of Labor

also noted that its functional test would more quickly adapt to new and emerging duties in changing

industries, whereas there would be a delay in updating O*NET. 86 Fed. Reg. at 60126. Because

the Department has offered a rational explanation for favoring its functional test over O*NET, that

decision survives arbitrary-and-capricious review. See Tex. Oil & Gas Ass’n, 161 F.3d at 934.



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       Third, Plaintiffs fault the Department of Labor for relying on economic data from 2018 and

2019, prior to the COVID-19 pandemic. Pls.’ Br. at 33–34. The Department used that data as part

of the cost-benefit analysis it conducted pursuant to Executive Orders 12866 and 13563, which

direct agencies to propose or adopt a regulation only upon a reasoned determination that its benefits

justify its costs. 86 Fed. Reg. at 60140 (citing Exec. Order No. 12866, 58 Fed Reg. 51735 (Oct. 4,

1993) and Exec. Order No. 13563, 76 Fed. Reg. 3821 (Jan. 18, 2011)). Notably, courts in the Fifth

Circuit “afford agencies considerable discretion in conducting ‘the complex . . . economic analysis

typical in the regulation promulgation process.’” Huawei Techs. USA, Inc. v. FCC, 2 F.4th 421,

452 (5th Cir. 2021) (quoting Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032, 1040 (D.C. Cir.

2012)). The Department acted well within that discretion here.

       Plaintiffs fail to acknowledge that the Department of Labor’s decision not to use pandemic

cost data was a conscious, reasonable, and explained choice. As part of its cost-benefit analysis,

the Department conducted a retrospective evaluation of changes in wages following the 2018 and

2019 guidance (which withdrew the 80/20 guidance) to help inform whether changes would occur

in the other direction—from employers to employees rather than from employees to employers—

following the reinstatement of the modified version of that rule. 86 Fed. Reg. at 60143–44. As part

of this analysis, the Department “chose not to examine data from 2020, as average hourly wages

during that year increased as low-wage workers in the leisure and hospitality industry were out of

work due to the COVID-19 pandemic, making meaningful comparisons difficult.” Id. In other

words, the Department’s goal was to examine changes in wages from the 2018 to 2019 guidance,

whereas wage data from 2020 would obviously be distorted with the much more impactful changes

associated with the pandemic. The Court should defer to this sound reasoning, see Huawei, 2 F.4th




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at 452, particularly where Plaintiffs have failed to even acknowledge—much less substantively

dispute—the Department’s stated reasons for using data from 2018 to 2019.5

       Plaintiffs also highlight comments from the Small Business Administration’s Office of

Advocacy (“SBA Advocacy”), which took the position that the Department of Labor had

underestimated compliance costs of small employers in the notice of proposed rulemaking. Pls.’

Br. at 33–34. Plaintiffs make the conclusory assertion that the Department “ignored” these

comments, id. at 34, but that is not true. As the Department clearly explained, it made substantive

adjustments to the content of the final rule that mitigated SBA Advocacy’s cost concerns. 86 Fed.

Reg. at 60154. In particular, the Department clarified that its definition of tip-producing work is

intended to be broadly construed. Id. at 60143. It also provided additional examples, amended the

definition of directly supporting work to clarify its scope and provided additional examples, and

modified the application of the 30-minute limitation for directly supporting work to make it easier

to comply with. Id. at 60143.

       The Department of Labor also established that the “minute to minute” tracking about which

SBA Advocacy expressed concern, ECF No. 12-1 at 46, “is not required by the rule, and will also

not be necessary to comply with the rule,” 86 Fed. Reg. at 60154; see also id at 60142 (noting that

“if employers stop assigning work to tipped employees that will no longer be considered part of

the tipped occupation under this rule, this will be a one-time change that does not necessitate

ongoing monitoring”). In addition, the Department noted that some monitoring of duties would

already have been in place as a result of the 2018 to 2019 guidance to ensure that employees did


5
        Plaintiffs also insist that Congress “would never have intended” the Department of Labor
to consider pre-pandemic data in estimating the rule’s costs. Pls.’ Br. at 34. But Plaintiffs cite no
statutory source supporting this supposition of what Congress “would” have intended. Id. Indeed,
unlike some statutes, the FLSA imposes no obligation on the Secretary of Labor to conduct a cost-
benefit analysis when regulating in this area.

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not perform duties unrelated to their tipped occupation as defined by that guidance. Id. at 60142,

60154.

         Plaintiffs dispute none of this reasoning, instead falsely asserting that SBA Advocacy’s

concerns were simply ignored. This falls far short of meeting the burden to show that the

Department’s rule is arbitrary and capricious. Medina Cty. Env’t Action Ass’n v. Surface Transp.

Bd., 602 F.3d 687, 699 (5th Cir. 2010) (noting that the party challenging a rule “has the burden of

proving that the agency’s determination was arbitrary and capricious”).6

         Further, while SBA Advocacy indeed took the position that the Department of Labor’s

estimated costs for the proposed (but not the final) rule should be higher, neither SBA Advocacy

nor any other commentator provided any information or analysis on exactly how much time should

be used to calculate one-time adjustment and continuing managerial costs. 86 Fed. Reg. at 60143.

In such circumstances, an agency is permitted to make estimates using the information available

to it. See FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1160 (2021) (upholding agency action

where the agency “made a reasonable predictive judgment based on the evidence it had”).

         Finally, Plaintiffs argue that the rule is “internally inconsistent” in two ways. First, they

contend that it improperly treats bussers and service bartenders as engaging in tip-producing work,

even though they generally do not provide direct service to customers the way servers do. Pls.’ Br.

at 34–35. As the Department of Labor explained, this treatment is not arbitrary; it recognizes that

bussers and service bartenders “receive tips from other tipped employees such as servers because

they are supporting their customer service, tip-producing work.” 86 Fed. Reg. at 60128. Contrary



6
        Plaintiffs may not attempt to argue against the Department of Labor’s published and clearly
stated reasoning for the first time on reply. See Scott v. City of Austin, Civ. A. No. 16-1287, 2019
WL 122055, at *3 n.2 (W.D. Tex. Jan. 7, 2019) (“arguments raised for the first time in a reply
brief are waived”) (Pitman, J.) (citing Jones v. Cain, 600 F.3d 527, 541 (5th Cir. 2010)).

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to Plaintiffs’ characterization, this is not “ipse dixit.” Pls.’ Br. at 35. It is a reasoned explanation

that is supported by the undisputed nature of the work that bussers and service bartenders perform

and the means by which they receive tips. See S. Rep. 93-690, at 43 (recognizing “busboys” and

“service bartenders” at “employees who customarily and regularly receive tips”).

        Plaintiffs next argue that the rule is inconsistent because it treats the “same duties”

differently “depending on context.” Pls.’ Br. at 35–36. Plaintiffs give the example of a bartender

retrieving a particular beer for a customer, which would be tip-producing work, and the same

bartender retrieving beer from a storeroom to restock the bar, which would be directly supporting

work. Id. They also give the example of a server cleaning a spill for a customer, which would be

tip-producing, and the same server cleaning a table between customers, which Plaintiffs believe

would be directly supporting. Id. But the Department’s distinctions are sound. It is entirely

reasonable to treat “service to customers for which the tipped employee receives tips” differently

from duties performed “in preparation for serving customers,” for which employees do not receive

tips. See 86 Fed. Reg. at 60128. In the first task of each of Plaintiffs’ examples—when a bartender

retrieves a particular beer from the storeroom at the request of a customer sitting at the bar or when

a server wipes down a spill on a customer’s table—the employee is performing a task directly for

a customer for which they will receive a tip. It makes sense for the Department to categorize these

tasks as “tip-producing.” When an employee performs work that does not produce tips but simply

supports their direct customer service work—such as when a bartender retrieves a case of beer

from the storeroom to stock the bar in preparation for serving customers or a server cleans a table




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during a lull in service—it makes sense for the Department to categorize those tasks as “directly

supporting.”7

        Defendants note that Plaintiffs, in their background section, describe the ways in which

they view the instant rule as inconsistent with the dual jobs rule that was promulgated in 1967.

Pls.’ Br. at 9–10. But the 2021 dual jobs rule is currently in effect, not the 1967 rule. In any event,

“[n]othing in the [APA] prohibits an agency from changing its mind, if that change aids it in its

appointed task.” Am. Petroleum Inst. v. EPA, 661 F.2d 340, 355 (5th Cir. 1981). And here, the

Department properly provided “a reasoned explanation for the change.” Encino Motorcars, LLC

v. Navarro, 579 U.S. 211, 221 (2016); see also 86 Fed. Reg. at 60134.

        For these reasons, Plaintiffs have failed to demonstrate that the rule is arbitrary and

capricious.

II.     PLAINTIFFS HAVE NOT PROVEN IRREPARABLE HARM.

        To obtain an injunction, a plaintiff must show “a substantial threat of irreparable injury if

the injunction is not issued.” Janvey, 647 F.3d at 595. Plaintiffs here argue that, absent an

injunction, restaurants will have to either abandon the tip credit or spend so much money to comply

with the 2021 rule that it will “financially devastate their business.” Pls.’ Br. at 36. The declarations

submitted in support of this assertion are deficient in several respects.




7
        Plaintiffs also accuse the Department of Labor of incoherently categorizing toasting bread
as “not ‘food preparation’ for purposes of the Final Rule.” Pls.’ Br. at 35–36 (emphasis in original).
That is not a fair characterization. The Department made a rational distinction between “general
food preparation,” such as assembling a salad or slicing fruits and vegetables, and kitchen work
“performed as part of the customer service work for which the employee receives tips,” which
includes “toasting bread to accompany prepared eggs, adding dressing to pre-made salad, scooping
ice cream to add to pre-made dessert, ladling pre-made soup, placing coffee into the coffee pot for
brewing, and assembling bread and chip baskets.” 86 Fed. Reg. at 60128.


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       First, Plaintiffs’ attempt to obtain an injunction comes too late. The rule has already gone

into effect, and, as a result, the one-time preparation costs described in the declarations would seem

to have already been incurred (or substantially incurred).8 See Gonannies, Inc. v. Goupair.Com,

Inc., 464 F. Supp. 2d 603, 609 (N.D. Tex. 2006) (“Delay in seeking a remedy is an important factor

bearing on the need for a preliminary injunction.”); Mylan Pharm., Inc. v. Shalala, 81 F. Supp. 2d

30, 43–44 (D.D.C. 2000) (noting that an over two-month delay “further militates against a finding

of irreparable harm”). For example, both Emily Knight of the Texas Restaurant Association and

Angelo Amador of the Restaurant Law Center describe costs to prepare for the rule that would

generally be spent prior to the rule’s implementation, including costs associated with reading and

understanding the rule, ECF No. 12-1 at 10, 61 (Knight Decl. ¶ 10.a; Amador Decl. ¶ 19.a);

conducting a cost analysis, id. at 10, 61–62 (Knight Decl. ¶ 10.b; Amador Decl. ¶ 19.b); and

establishing upfront policies and procedures to ensure compliance, id. at 11, 63 (Knight Decl.

¶ 10.d; Amador Decl. ¶ 19.d). Similarly, Tracy Vaught, the owner of a company that operates five

restaurants in Texas (the only identified restaurants alleging irreparable harm), describes purported

costs to “prepare for” the rule, including consultations to “figure out how it is even possible to

comply with the Final Rule.” ECF No. 12-1 at 74 (Vaught Decl. ¶¶ 4, 6). As these preparation costs

would have already been incurred, they cannot serve as a basis for ongoing irreparable harm.9



8
         The final rule was published on October 29, 2021. 86 Fed. Reg. 60114. Plaintiffs did not
file this lawsuit until December 3, 2021, and their motion for a preliminary injunction was not
docketed until December 20, 2021. They did not seek expedited briefing. Under the Court’s local
rules, which permit fourteen days for an opposition and seven days for a reply, Plaintiffs’ timing
made it inevitable that the rule would go into effect on December 28, 2021.
9
         Alternatively, it may be that the restaurants referred to in the declarations have made a
conscious decision not to comply with the regulation at all or for some significant period following
its effective date. A restaurant that has determined to neither comply with an effective regulation
nor to timely seek an injunction preventing the regulation from taking effect cannot claim
irreparable harm.

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Indeed, entering a preliminary injunction now—after the rule has already taken effect and after

restaurants have already taken steps to comply with it—will only result in confusion in the

restaurant industry. By belatedly seeking relief, the Restaurant Law Center will create the very

injury that it purportedly wants to avoid.

       The declarations also overstate the ongoing compliance costs associated with the rule. Ms.

Knight describes one unidentified member of the Texas Restaurant Association who estimates that

managers would need to spend eight hours per week monitoring employee’s tasks to comply with

the rule. ECF No. 12-1 at 13 (Knight Decl. ¶ 10.f). And Mr. Amador describes an unidentified

restaurant attorney who estimates that a manager would need to spend ten hours per week

monitoring tasks, performing audits, and correcting pay. ECF No. 12-1 at 64 (Amador Decl.

¶ 19.f). But as the Department of Labor made clear in the final rule, there is less need for close

monitoring if restaurants simply “stop assigning work to tipped employees that will no longer be

considered part of the tipped occupation.” 86 Fed. Reg. at 60142; see also id. (“The Department

does not believe that [ongoing management costs] will be substantial, because if employers are

able to make the upfront adjustments to scheduling, there is less of a need for ongoing

monitoring.”); id. at 60122 (noting that “employers can assign directly supporting work so that

employees do not perform this work for more than a substantial amount of time”). The declarations

do not explain why this would not be an option. Further, in response to comments from the

restaurant industry, the Department of Labor made substantial changes to the proposed rule to

clarify that many of the tasks that commenters understood as “directly supporting” tasks that would

require close monitoring are in fact tip-producing when performed for a customer and therefore do

not count toward the quantitative limits. Id. at 60133.




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       The declarations also fail to account for the degree to which restaurants were already

monitoring employee’s tasks prior to promulgation of the rule. The declarations characterize the

requirements of the rule—including the twenty-percent limitation on directly supporting work—

as new and state that additional resources will need to be brought to bear to ensure that employees

do not spend too much time performing directly supporting work. ECF No. 12-1 at 12, 63, 74–75

(Knight Decl. ¶ 10.e; Amador Decl. ¶ 19.d; Vaught Decl. ¶ 7). In fact, the rule’s obligations are not

altogether novel. The Department of Labor had imposed, through the 80/20 guidance, a twenty-

percent limitation on supporting work for decades prior to 2018. See 86 Fed. Reg. at 60141 (noting

that rule familiarization costs are reduced by the fact that “[m]any employers are familiar with a

20 percent tolerance, which is part of what is being put forth in this rule, since the Department

enforced a 20 percent tolerance for 30 years prior to the 2018–2019 guidance”). And even after the

2018 and 2019 guidance rescinded the 80/20 guidance, courts in private litigation have almost

universally refused to recognize that rescission and have continued to hold restaurant employers

to the twenty-percent tolerance. See Rafferty, 13 F.4th at 1179; Rorie v. WSP2, LLC, 485 F. Supp.

3d 1037, 1041 (W.D. Ark. 2020) (collecting seven other district court cases and observing that

“[w]ith one lone exception, all courts that have examined the issue have declined to extend the

agency’s new guidance any deference at all”). In fact, in May 2021, two months before the instant

rule was proposed, the National Restaurant Association and its outside counsel Paul DeCamp

offered three “strategies” for restaurants to “comply with the 80/20 rule” (which, notably, involve

making upfront adjustments to assignments and not devoting ongoing management time to

rigorous monitoring). Ex. 7, Nat’l Rest. Ass’n, Tips on Tipping (May 13, 2021). Thus, the

declarations do not describe any significant new harm resulting from the rule when they complain

of purported costs associated with the need to keep records of employees’ tasks to defend against



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private litigation. ECF No. 12-1 at 13, 64–65, 74–75 (Knight ¶ 10.g, Amador Decl. ¶ 19.g, Vaught

Decl. ¶ 7). That need, to the extent it exists,10 predates the rule.

        Moreover, the declarations are vague and unconvincing. The Amador and Knight

declarations rely exclusively on hearsay and for the most part only vaguely refer to situations

purportedly faced by some unspecified “members” of their respective trade associations. See

Lakedreams v. Taylor, 932 F.2d 1103, 1107 (5th Cir. 1991) (conclusory allegations of irreparable

harm do not entitled movant to injunctive relief). In the rare instances when a specific restaurant

is described, the identity of that member is withheld and insufficient details are provided about its

specific situation. See, e.g., ECF No. 12-1 at 10–11 (Knight Decl. ¶ 10.c) (describing one

unidentified restaurant that has apparently informed her that it will not be able to take a tip credit

at all but providing no explanation as to why); ECF No. 12-1 at 62 (Amador Decl. ¶ 19.c)

(describing an unidentified Virginia restaurant that will purportedly no longer use the tip credit at

all, but not explaining why). Similarly, the Vaught declaration speculates that the restaurant group

“may” not take the tip credit at all, without stating definitively that it will not or explaining the

basis for that possible decision. ECF No. 12-1 at 73 (Vaught Decl. ¶ 5). See Aquifer Guardians in

Urban Areas v. Fed. Highway Admin., 779 F. Supp. 2d 542, 574 (W.D. Tex. 2011) (stating that a

plaintiff must “demonstrate that irreparable harm is real, imminent, and significant—not merely

speculative or potential—with admissible evidence”).

III.    THE BALANCE OF HARMS DISFAVORS AN INJUNCTION.

        Any harm that Plaintiffs may suffer from the continued effectiveness of the rule is

outweighed by the harm that an injunction would cause the government and restaurant employees,




10
       The Department of Labor has made clear that the final rule itself does not impose any new
recordkeeping requirements. 86 Fed. Reg. at 60140.
                                                   40
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and the grant of an injunction would disserve the public interest. See Janvey, 647 F.3d at 595. As

described above, the alleged injuries described in the declarations submitted with Plaintiffs’ motion

are vague, overstated, and contradicted by the fact that the rule is already in effect and that

restaurants have long faced a similar obligations under the 80/20 guidance.

       In addition, the alleged injuries are outweighed by the injury that restaurant employees

would suffer if the rule were enjoined. An analysis by the Economic Policy Institute showed that

rescinding the 80/20 guidance and allowing restaurants to assign unlimited non-tipped work to

their employees could lead to a $700 million loss of employee income. 86 Fed. Reg. at 60139. And

while Plaintiffs complain of the effects of the COVID-19 pandemic on restaurants, the effect on

restaurant employees has been worse. Many commenters noted that, as a result of the pandemic,

employees are being asked by their employers to perform significantly more work for which they

do not receive tips and for which they are paid a reduced direct cash wage. 86 Fed. Reg. at 60121;

see also Ex. 8, Comments by Economic Policy Institute at 2–3 (Aug. 23, 2021) (noting that, as a

result of the COVID-19 pandemic, “non-tipped work now makes up a much greater share of work

being done in establishments that employ tipped workers”). This means that employees are being

forced to perform an increasing amount of work for which they are paid direct cash wages as low

as only $2.13 per hour, without the opportunity to earn tips, thereby resulting in an overall

reduction to their wages.

       On top of that, “there is inherent harm to an agency in preventing it from enforcing

regulations that Congress found it in the public interest to direct an agency to develop and enforce.”

Nat’l Propane Gas Ass’n v. Dep't of Homeland Sec., 534 F. Supp. 2d 16, 20 (D.D.C. 2008). These

harms weigh heavily against an injunction.




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IV.    THERE IS NO BASIS FOR A NATIONWIDE INJUNCTION.

       Even if Plaintiffs could satisfy the standards for a preliminary injunction, the “nationwide

injunction” they seek is overbroad. Constitutional and equitable principles require that injunctive

relief be limited to redressing a Plaintiffs’ own cognizable injuries. Lewis v. Casey, 518 U.S. 343,

357 (1996). And equitable principles require that injunctions “be no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs.” Madsen v. Women’s Health

Ctr., 512 U.S. 753, 765 (1994). Thus, any injunction should be limited to relieving the specific

injury of only those Plaintiffs whom the Court determines have a cognizable claim and will suffer

irreparable harm without an injunction.

       Here, the only injury cited in support of Plaintiffs’ cursory request for a nationwide

injunction, Pls.’ Br. at 39, is the Restaurant Law Center’s alleged “diversion of resources,” which

is based on Mr. Amador’s expectation that the Center will “continue to have to provide educational

and information services to our members to navigate questions regarding how to monitor and

reclassify the types of tasks that restaurant workers perform, as well as how to change their

business models, staffing models, and operations to comply with the Final Rule,” ECF No. 12-1 at

60 (Amador Decl. ¶ 17). Critically, however, this is not the alleged injury presented by Plaintiffs

as irreparable harm justifying an injunction. See Pls.’ Br. at 36–37. Nor would it be adequate to

justify injunctive relief—much less nationwide injunctive relief. Even before the instant rule was

proposed, Mr. Amador, as head of the Restaurant Law Center, and the Restaurant Law Center’s

outside counsel, Mr. DeCamp, provided “educational and information services” to the

association’s members about how to “change their business models, staffing models, and

operations” to comply with the highly similar 80/20 guidance. Ex. 7, Nat’l Rest. Ass’n, Tips on




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Tipping (May 13, 2021). The Center’s continuation of these activities following the promulgation

of the rule does not constitute new irreparable harm.

        Further, a nationwide injunction of the rule would be particularly inappropriate given that

a highly similar approach—the 80/20 guidance—has been endorsed as an appropriate

implementation of the FLSA by three out-of-jurisdiction courts of appeals: the Eighth, Ninth, and

Eleventh circuits. See Rafferty, 13 F.4th at 1179; Marsh, 905 F.3d at 621–23; Fast, 638 F.3d at

876–77. A nationwide injunction against the rule as contrary to the FLSA would effectively and

improperly supplant those precedents. See United States v. AMC Ent., Inc., 549 F.3d 760, 773 (9th

Cir. 2008) (“Principles of comity require that, once a sister circuit has spoken to an issue, that

pronouncement is the law of that geographical area. Courts in the Ninth Circuit should not grant

relief that would cause substantial interference with the established judicial pronouncements of

such sister circuits.”). Therefore, even were an injunction appropriate, the Court should exercise

its discretion to limit it to this district.



                                               *   *    *




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                                    CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ motion for a preliminary

injunction.

 Dated: January 19, 2022                      Respectfully submitted,

                                              BRIAN M. BOYTON
                                              Acting Assistant Attorney General

                                              BRAD P. ROSENBERG
                                              Assistant Director, Federal Programs Branch

                                               /s/ Johnny Walker
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                                              Attorneys for Defendants




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                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 RESTAURANT LAW CENTER, et al.,
                    Plaintiffs,
             v.                                      Civil Action No. 21-1106 (RP)
 U.S. DEPARTMENT OF LABOR, et al.,
                    Defendants.


                            APPENDIX OF EXHIBITS

1.   WHD Opinion Letter FLSA-895 (Aug. 8, 1979)
2.   WHD Opinion Letter WH-502 (Mar. 28, 1980)
3.   WHD Opinion Letter FLSA-854 (Dec. 20, 1985)
4.   WHD Field Operations Handbook Rev. 563 § 30d00(e)
5.   WHD Opinion Letter FLSA2018-27 (Nov. 8, 2018)
6.   WHD Field Operations Handbook Rev. 767 (Feb. 15, 2019)
7.   Nat’l Rest. Ass’n, Tips on Tipping (May 13, 2021)
8.   Comments by Economic Policy Institute at 2–3 (Aug. 23, 2021)
FLSA-895 AUGUST 8, 1979                                                  Page 1 of 1
          Case 1:21-cv-01106-RP Document 20 Filed 01/20/22 Page 52 of 73


FLSA-895

August 8, 1979


This is in reply to your letter of July 16, 1979, asking if the tip credit provision of the Fair Labor
Standards Act may be used when compensating a waitress for time spent performing certain activities in
a restaurant.

Regarding the restaurant in question, the waitresses report to work two hours before the doors are
opened to the public to prepare the vegetables for the salad bar. You state the time spent by the
waitresses in preparing the vegetables constitutes the work of a waitress, even though 10% or less of the
vegetables are used in the kitchen for sandwich preparation and meal garnishments. You state this
amount of vegetables used in the kitchen should not affect our opinion, as it should be considered de
minimis. Also this preparatory work is analogous with the work performed by a barber or beautician
before their actual performance of work on a customer. Thus, as the waitresses each receive
"customarily and regularly" $30 a month in tips, you believe the time in question may be paid for, in
part, by tips.

We disagree. Section 531.56(e) of the enclosed copy of 29 CFR Part 531, deals with tipped employees
who are performing dual jobs. As explained in that section, where a maintenance man in a hotel also
serves as a waiter, the tip credit is available only for the hours worked as a waiter, if he is a "tipped
employee" within the meaning of section 3(t) of the Act. (Part 531 is presently being revised to take into
account amendments to the FLSA relating to the tip credit since the interpretations therein were last
issued.)

The Congressional Record (in particular page 43 of Senate Report No. 93-960, February 22, 1974)
indicates that employees who "customarily and regularly" receive tips are waiters, bellhops, waitresses,
countermen, busboys and service bartenders. It also indicates that janitors, dishwashers, chefs and
laundry room attendants are not tipped employees. Accordingly, since it is our opinion that salad
preparation activities are essentially the activities performed by chefs, no tip credit may be taken for the
time spent in preparing vegetables for the salad bar.

Sincerely,

Herbert J. Cohen
Assistant Administrator

Enclosures




                                                                                                   EXHIBIT
                                                                                                         1
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Opinion Letter Fair Labor Standards Act (FLSA), 1980 WL 141336 (1980)




                                          1980 WL 141336 (DOL WAGE-HOUR)

                                                   Wage and Hour Division

                                             United States Department of Labor
                                       Opinion LetterFair Labor Standards Act (FLSA)

                                                          WH-502
                                                       March 28, 1980
***
*1 This is in reply to your letter of October 30, 1979, asking if certain duties performed by tipped employees in a restaurant
after closing hours are considered to be tipped employee duties under the Fair Labor Standards Act.

You state the tipped employees clean the salad bar, place the condiment crocks in the cooler, clean and stock the waitress
station, clean and reset the tables (including filling cheese, salt and pepper shakers) and vacuum the dining room carpet, after
the restaurant is closed. It is your position that since the dining area is the domain of the waitresses and waiters, they are
responsible for the duties described above. Accordingly, you believe the employer may use the tip credit provision when
compensating the tipped employees for the time expended performing these duties.

As you know, section 531.56(e) of 29 CFR Part 531, deals with tipped employees who are performing dual jobs. This section
explains that a waitress who spends part of her time cleaning and setting tables, toasting bread, making coffee and
occasionally washing dishes or glasses is not employed in two occupations. Further, such related duties in an occupation that
is a tipped occupation need not by themselves be directed toward producing tips. As indicated, however, where there is a
clear dividing line between the types of duties performed by a tipped employee, such as between maintenance duties and
waitress duties, no tip credit may be taken for the time spent by a waitress performing maintenance duties.

Insofar as the after-hours clean-up you describe are assigned generally to the waitress/waiter staff, we believe that such duties
constitute tipped employment within the meaning of the regulation. We might have a different opinion if the facts indicated
that specific employees were routinely assigned, for example, maintenance-type work such as floor vacuuming.
 Sincerely,

Henry White
Deputy Administrator

                                          1980 WL 141336 (DOL WAGE-HOUR)
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Opinion Letter Fair Labor Standards Act (FLSA), 1985 WL 1259240 (1985)




                                           1985 WL 1259240 (DOL WAGE-HOUR)

                                                      Wage and Hour Division

                                                United States Department of Labor
                                          Opinion LetterFair Labor Standards Act (FLSA)

                                                           FLSA-854
                                                       December 20, 1985
***
*1 This is in response to your letter of June 20 in which you request an opinion as to whether salad bar and dining room
set-up are duties related to a tipped occupation within the meaning of section 3(m) of the Far Labor Standards Act (FLSA).
We regret the delay in responding to your inquiry.

As outlined in your letter and in a conversation with a member of my staff on November 26, *** owns and operates several
*** restaurants throughout the United States. *** regularly open to the public at 11 a.m. Generally, you state, two to four
waiters or waitresses work each day in each restaurant. One waiter or waitress is assigned with opening responsibilities from
9:00 or 9:30 am., to 11:00 am. These opening responsibilities are as follows:
(1) Inspect dining room including windows and sills.

(2) Check dining room lights.

(3) Set thermostat.

(4) Check tables and align table bases.

(5) Check high chairs/booster seats.

(6) Set tables.

(7) Set table arrangers.

(8) Clean and fill shakers.

(9) Clean/replace ashtrays.

(10) Stock waitress station with glasses, cups, mugs, and pitchers.

(11) Check supplies of napkins, sugar, straws, etc.

(12) Check supply and cleanliness of plates, salad plates and silverware.

(13) Set up three (3) compartments, glass washing sink.

(14) Check beverage dispensers.

(15) Prepare tea

(16) At opening, prepare coffee.
1. Cut and clean vegetables for salad bar.

2. Clean and sanitize sneeze shield on salad bar.


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Opinion Letter Fair Labor Standards Act (FLSA), 1985 WL 1259240 (1985)



1. (19) Fill salad bar crocks with refrigerated and dry items.

(20) Place vinegar and oil cruets at end of salad bar.

(21) Race parmesan shaker on salad bar.

(22) If iced salad bar, fill ice bin.



You state that typically the water or waitress with opening responsibilities works until 2 p.m. Any other waitresses working
the lunch shift do not report until 10:30 or 11:00 am.

You state that a small portion of the 1.5 to 2 hour set-up time is spent in preparing vegetables for the salad bar. You state that
the salad bar preparation is a related duty in a tipped occupation. you cited Opinion Letter No. 1554 (WH-502) in which the
Administrator of the Wage and Hour Division found that duties such as cleaning and restocking the waitress station, refilling
shakers, cleaning and resetting tables and vacuuming the carpet as performed by waitresses after hours constitute tipped
employment within the meaning of Regulations 29 CFR Part 531.

In support of your position you also cite section 531.56(e) of 29 CFR Part 531. You compare the preparation of the salad bar
to the preparation of short orders as performed by counter persons.

The FLSA is the Federal law of most general application concerning wages and hours of work. Under FLSA all covered and
nonexempt employees must be paid not less than the minimum wage rate of $3.35 an hour for all hours worked and not less
than one and one-half times their regular rates of pay for all hours worked over 40 in a workweek.

*2 As explained in section 3(m) of FLSA, tips received by tipped employees may be counted by an employer in an amount
up to 40% of the applicable minimum wage. A “tipped employee” is defined in section 3(t) of FLSA as an employee engaged
in an occupation in which he or she regularly receives not less than $30 a month in tips.

Section 531.56(e) deals with tipped employees who are performing dual jobs. As explained in this section, when an
individual is involved in a tipped occupation and a nontipped occupation, the tip credit is available only for the hours spent in
the tipped occupation. For example, when a maintenance person in a hotel also serves as a waiter or waitress, the tip credit is
available only for the hours worked as a waiter or waitress.

The legislative history of the 1974 amendments of FLSA (in particular, page 43 of Senate Report No. 93-960, February 22,
1974) indicates that employees who “customarily and regularly” receive tips are waters, waitresses, bell persons, counter
persons, bus help, and service bartenders. It also indicates that janitors, dishwashers, chefs, and laundry room attendants are
not tipped employees. It is our opinion that salad preparation activities are essentially the activities performed by chefs and
no tip credit may be taken for the time spent in preparing vegetables for the salad bar. Enclosed is a copy of an opinion letter
which contains a detailed discussion of this position.

Also as explained in section 531.56(e), the tip credit may betaken for time spent in duties related to the tipped occupation
even though such duties need not by themselves be directed toward producing tips. For example, a waiter or waitress who
spends part of his or her time cleaning and setting tables, toasting bread, making coffee, and occasionally washing dishes or
glasses may continue to be engaged in a tipped occupation even though the duties listed above are not tip-producing.
Therefore, tip credit could be taken for non-salad bar preparatory work or after-hours clean-up if such duties are incidental to
the water or waitress regular duties and are assigned generally to the waiter/waitress staff. However, where the facts indicate
that specific employees are routinely assigned to maintenance-type work or that tipped employees spend a substantial amount
of time in performing general preparation work or maintenance, we would not approve a tip credit for hours spent in such
activities.

In the situation you describe, only one waiter or waitress is assigned to perform all preparatory activities. The opening waiter
or waitress’ responsibilities extend to the entire restaurant rather than to the specif i c area or customers which they serve.

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Opinion Letter Fair Labor Standards Act (FLSA), 1985 WL 1259240 (1985)



Furthermore, the activities performed prior to the opening of the restaurant consume a substantial portion of the waiter or
waitress’ workday. Although you have stated that a waiter or waitress may work an eight-hour shift, typically they work a
five-hour shift from 9 am. to 2 p.m. The 1.5 to 2 hours of preparatory time constitutes 30% to 40% of the employee’s
workday.

*3 Therefore, based on the information you have provided, it is our opinion that no tip credit may betaken for the hours spent
by an assigned waiter or waitress in opening responsibilities.

We trust that the above is responsive to your inquiry.
Sincerely,

Herbert J. Cohen
Deputy Administrator

                                         1985 WL 1259240 (DOL WAGE-HOUR)
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                                                                 EXHIBIT
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U.S. Department of Labor                        Wage and Hour Division
                                                Washington, DC 20210




                                                                                                        FLSA2018-27

November 8, 2018

Dear Name*:

This letter responds to your request that the Wage and Hour Division (“WHD”) reissue Opinion
Letter FLSA2009-23. On January 16, 2009, then-Acting WHD Administrator Alexander J.
Passantino signed the opinion letter as an official statement of WHD policy. On March 2, 2009,
however, WHD withdrew the opinion letter “for further consideration” and stated that it would
“provide a further response in the near future.”

We have further analyzed Opinion Letter FLSA2009-23. From today forward, this letter, which
is designated FLSA2018-27 and reproduces below the verbatim text of Opinion Letter
FLSA2009-23, is an official statement of WHD policy and an official ruling for purposes of the
Portal-to-Portal Act, 29 U.S.C. § 259. Please note, however, that since the letter was originally
issued in 2009, (1) the applicable federal minimum wage has increased to $7.25 per hour, (2) the
website cited in the letter is now available at https://www.onetonline.org/link/summary/35-
3031.00, and (3) then-section 30d00(e) of the Field Operations Handbook is now section
30d00(f), and the language therein was modified.

I thank you for your inquiry.




Bryan L. Jarrett
Acting Administrator




Dear Name*:

This is in response to your request that we clarify our Field Operations Handbook (FOH) section
30d00(e), 1 which explains the Wage and Hour regulation at 29 C.F.R. § 531.56(e) interpreting
the definition of a “tipped employee” in section 3(t) of the Fair Labor Standards Act, 29 U.S.C.

1
 Unless otherwise noted, any statutes, regulations, opinion letters, or other interpretive material cited in this letter
can be found at ww.wagehour.dol.gov.


                                                                                                                   EXHIBIT
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§ 203(t). We agree that the current FOH sections addressing the tip credit have resulted in some
confusion and inconsistent application and, as a result, may require clarification. It is our intent
that FOH § 30d00(e) be construed in a manner that ensures not only consistent application of the
Act and a level of clarity that will allow employers to determine up front whether their actions
are in compliance with the Act, but also the paramount goal that all affected workers receive the
full protections of the Act.

The tip credit provision in section 3(m) of the FLSA, 29 C.F.R. § 203(m), permits an employer
to pay its tipped employees not less than $2.13 per hour in cash wages and take a “tip credit”
equal to the difference between the cash wages paid and the federal minimum wage, which is
currently $6.55 per hour. The tip credit may not exceed the amount of tips actually received and
under the current minimum wage may not exceed $4.42 per hour ($6.55 í $2.13). 2 A “tipped
employee” is defined in FLSA section 3(t) as any employee engaged in an occupation in which
he or she customarily and regularly receives not less than $30 a month in tips (emphasis added).

Recognizing that there are situations in which employees have more than one occupation, some
of which may meet the tip credit requirements and some of which may not, the regulations
provide that in such “dual jobs,” the tip credit may only be applied with respect to the time spent
in the tipped job.

         In some situations an employee is employed in a dual job, as for example, where a
         maintenance man in a hotel also serves as a waiter. In such a situation the employee, if
         he customarily and regularly receives at least $20 a month in tips for his work as a waiter,
         is a tipped employee only with respect to his employment as a waiter. He is employed in
         two occupations, and no tip credit can be taken for his hours of employment in his
         occupation of maintenance man.

29 C.F.R. § 531.56. The regulations further recognize that some occupations require both tip-
generating and non-tip-generating duties, but do not constitute a dual job that necessitates the
allocation of the tip credit to the tipped occupation only.

         Such a situation [i.e. one involving a dual job] is distinguishable from that of a waitress
         who spends part of her time cleaning and setting tables, toasting bread, making coffee
         and occasionally washing dishes or glasses. It is likewise distinguishable from the
         counterman who also prepares his own short orders or who, as part of a group of
         countermen, takes a turn as a short order cook for the group. Such related duties in an
         occupation that is a tipped occupation need not by themselves be directed toward
         producing tips.

Id.

The dividing line between “dual job” and “related duties” is not always clear, however. To give
enforcement guidance on this issue, we issued FOH § 30d00(e), which states:

2
 Section 3(m) also requires that an employer that elects the tip credit (1) inform its tipped employees of the tip
credit provisions in FLSA section 3(m), and (2) that all tips received by such employees be retained by the
employees.



                                                           2
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        Reg 531.56(e) permits the taking of the tip credit for time spent in duties related to the
        tipped occupation, even though such duties are not by themselves directed toward
        producing tips (i.e. maintenance and preparatory or closing activities). For example a
        waiter/waitress, who spends some time cleaning and setting table, making coffee, and
        occasionally washing dishes or glasses may continue to be engaged in a tipped
        occupation even though these duties are not tip producing, provided such duties are
        incidental to the regular duties of the server (waiter/waitress) and are generally assigned
        to the servers. However, where the facts indicate that specific employees are routinely
        assigned to maintenance, or that tipped employees spend a substantial amount of time (in
        excess of 20 percent) performing general preparation work or maintenance, no tip credit
        may be taken for the time spent in such duties.

Section 30d00(e) attempts to ensure that employers do not evade the minimum wage
requirements of the Act simply by having tipped employees perform a myriad of nontipped work
that would otherwise be done by non-tipped employees. Admittedly, however, it has created
some confusion. For instance, in Fast v. Applebee’s Int’l, Inc., 502 F.Supp.2d 996 (W.D. Mo.
2007), the court construed § 30d00(e) to not only prohibit the taking of a tip credit for duties
unrelated to the tip producing occupation, but also to prohibit the taking of a tip credit for duties
related to the tip producing occupation if they exceed 20 percent of the employee’s working
time. Moreover, the court determined that what constitutes a related and non-related duty is a
jury determination.

In contrast, in Pellon v. Business Representation Int’l, Inc., 528 F.Supp.2d 1306 (S.D. Fla. 2007),
aff’d, 291 Fed. Appx. 310 (11th Cir. 2008), the court rejected the Fast court’s reading of FOH
§ 30d00(e), holding, in part, that the 20 percent limitation does not apply to related duties. The
court further held that under the Fast ruling, “nearly every person employed in a tipped
occupation could claim a cause of action against his employer if the employer did not keep
perpetual surveillance or require them to maintain precise time logs accounting for every minute
of their shifts.” Pellon, at 1314. Such a situation benefits neither employees nor employers.

We do not intend to place a limitation on the amount of duties related to a tip-producing
occupation that may be performed, so long as they are performed contemporaneously with direct
customer-service duties and all other requirements of the Act are met. We also believe that
guidance is necessary for an employer to determine on the front end which duties are related and
unrelated to a tip-producing occupation so that it can take necessary steps to comply with the
Act. Accordingly, we believe that the determination that a particular duty is part of a tipped
occupation should be made based on the following principles:

    x   Duties listed as core or supplemental for the appropriate tip-producing occupation in the
        in the Tasks section of the Details report in the Occupational Information Network
        (O*NET) http://online.onetcenter.org or 29 C.F.R. § 531.56(e) shall be considered
        directly related to the tip-producing duties of that occupation. 3 No limitation shall be

3
 WHD recognizes that there will be certain unique or newly emerging occupations that qualify as tipped
occupations under the Act, but for which there is no O*NET description. See e.g., Wage and Hour Opinion Letter
FLSA2008-18 (Dec. 19, 2009) (itamae-sushi chefs and teppanyaki chefs). For such tipped occupations for which



                                                       3
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         placed on the amount of these duties that may be performed, whether or not they involve
         direct customer service, as long as they are performed contemporaneously with the duties
         involving direct service to customers or for a reasonable time immediately before or after
         performing such direct-service duties. 4
    x    Employers may not take a tip credit for time spent performing any tasks not contained in
         the O*NET task list. We note, however, that some of the time spent by a tipped
         employee performing tasks that are not listed in O*NET may be subject to the de minimis
         rule contained in Wage and Hour’s general FLSA regulations at 29 C.F.R. § 785.47.

These principles supersede our statements in FOH § 30d00(e). A revised FOH statement will be
forthcoming.

This opinion is based exclusively on the facts and circumstances described in your request and is
given based on your representation, express or implied, that you have provided a full and fair
description of all the facts and circumstances that would be pertinent to our consideration of the
question presented. Existence of any other factual or historical background not contained in your
letter might require a conclusion different from the one expressed herein. You have represented
that this opinion is not sought by a party to pending private litigation concerning the issues
addressed herein. You have also represented that this opinion is not sought in connection with
an investigation or litigation between a client or firm and the Wage and Hour Division or the
Department of Labor.

We trust that this letter is responsive to your inquiry.

Sincerely,




Alexander J. Passantino
Acting Administrator

*Note: The actual name(s) was removed to protect privacy in accordance with 5 U.S.C.
§ 552(b)(7).




there is no O*NET description, the duties usually and customarily performed by employees in that specific
occupation shall be considered “related duties” so long as they are consistent with the duties performed in similar
O*NET occupations. For example, in the case of unique occupations such as teppanyaki chefs, the related duties
would be those that are included in the tasks set out in O*NET for counter attendants in the restaurant industry.
4
 See Wage and Hour Opinion Letter WH-502 (Mar. 28, 1980) (concluding that a waitperson’s time spent
performing related duties (vacuuming) after restaurant was closed was subject to tip credit).



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                b.      Non-3(m) deductions when the employer does not claim an FLSA 3(m) tip
                        credit

                        Non-3(m) deductions may only be made from a tipped employee’s wages
                        when the employer does not claim an FLSA 3(m) tip credit and pays a direct
                        wage in excess of the minimum wage. For example, if an employee receives
                        $10.00 per hour in cash wages, the employer cannot claim an FLSA 3(m) tip
                        credit, and the employer may take up to $2.75 ($10.00 - $7.25 = $2.75) in
                        non-3(m) deductions from the employee’s hourly wage. See 29 CFR 531.37.

         (5)    Other laws

                Where the FLSA and a state or local law regulating wages for tipped employees are
                concurrently applicable, it is the employer’s responsibility to comply with the more
                protective wage standard.

  (f)    Dual jobs

         (1)    When an individual is employed in a tipped occupation and a non-tipped
                occupation—for example, as a server and janitor (i.e., dual jobs)—the tip credit is
                available only for the hours the employee spends working in the tipped occupation,
                provided the employee customarily and regularly receives more than $30.00 a month
                in tips. See 29 CFR 531.56(e).

         (2)    29 CFR 531.56(e) permits the employer to take a tip credit for any time the employee
                spends in duties related to the tipped occupation, even though such duties are not
                themselves directed toward producing tips.

         (3)    WHD staff will consult the Occupational Information Network (O*NET), an online
                source of occupational information, and 29 CFR 531.56(e) to determine whether
                duties are related or unrelated to the tip-producing occupation. Duties will be
                considered related to the tipped occupation when listed as “core” or “supplemental”
                under the “Tasks” section of the “Details” tab for the appropriate tip-producing
                occupation in O*NET.

                a.      An employer may take a tip credit for any amount of time that an employee
                        spends on related, non-tipped duties performed contemporaneously with the
                        tipped duties—or for a reasonable time immediately before or after
                        performing the tipped duties—regardless whether those duties involve direct
                        customer service. See WHD Opinion Letter WH-502 (March 28, 1980),
                        which concludes that a server’s time spent performing related duties (e.g.,
                        vacuuming) after restaurant closing is subject to a tip credit. For example,
                        the core tasks currently listed in O*NET for waiters and waitresses (see the
                        O*NET Summary Report for waiters and waitresses) include: cleaning tables
                        or counters after patrons have finished dining; preparing tables for meals,
                        which encompasses setting up items such as linens, silverware, and
                        glassware; and stocking service areas with supplies such as coffee, food,
                        tableware, and linens. In addition, O*NET lists garnishing and decorating
                        dishes in preparation for serving as a supplemental task for waiters and
                        waitresses. An employer may take a tip credit for any amount of time a


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                           waiter or waitress who is a tipped employee spends performing these related
                           duties.

                   b.      The WHD recognizes that there will be unique or newly emerging
                           occupations that qualify as tipped occupations under the FLSA for which
                           there is no O*NET description. See, e.g., WHD Opinion Letter FLSA2008-
                           18 (December 19, 2008) regarding itamae-sushi chefs and teppanyaki chefs.
                           For such tipped occupations, the duties usually and customarily performed by
                           employees in that specific occupation shall be considered related duties as
                           long as they are consistent with the related duties performed in similar
                           O*NET occupations. For example, in the case of unique occupations such as
                           teppanyaki chefs, the related duties would be those that are included in the
                           tasks set out in O*NET for counter attendants in the restaurant industry.

           (4)     An employer may not take a tip credit for the time an employee spends performing
                   any tasks not contained in 29 CFR 531.56(e), or in the O*NET task list for the
                   employee’s tipped occupation, or—for a new occupation without an O*NET
                   description—in the O*NET task list for a similar occupation. Some of the time spent
                   by a tipped employee performing tasks that are not related to a tipped occupation,
                   however, may be subject to the de minimis rule in 29 CFR 785.47.

                   See WHD Opinion Letter FLSA2018-27 (November 8, 2018).

[12/15/2016, 02/15/2019]

30d01      Retention of tips by employee.

   (a)     General

           As noted above, tips are the property of the tipped employee who receives them, regardless of
           whether or not the employer claims a tip credit. All tips received (i.e., given to or designated
           for the employee by a patron) by a tipped employee must be retained by the employee, and
           the employer may only utilize the employee’s tips as a partial credit against its wage payment
           obligations or in furtherance of a valid pooling arrangement. An employer and employee
           cannot agree to waive such employee’s right to retain all tips received. An employer’s use of
           an employee’s tips for any other purpose will be treated as a deduction from the employee’s
           wages and would be an FLSA violation to the extent that it reduces total compensation below
           what the Act requires. See WHD Opinion Letter FLSA (October 26, 1989).

           Tips in excess of the FLSA 3(m) tip credit may not be credited toward an employer’s
           minimum wage obligations. Where an employer has claimed an FLSA 3(m) tip credit, it has
           paid the employee only the federal minimum wage for any hours in a non-overtime
           workweek, regardless of the amount of tips received by the employee in excess of the tip
           credit amount.

   (b)     3(m) requirements not observed

           Where an employer does not strictly observe the provisions of section 3(m) (the employer
           fails to provide adequate notice of the use of the tip credit, the employer does not pay a cash
           or direct wage of at least $2.13 per hour, the tips received by the employee are less than the
           amount of tip credit claimed and the employer does not make up the difference during the pay



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  ARTICLES     May 13, 2021



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As a new administration hits its }rst 100 days, what changes can we expect to federal
tipping regulations?

New federal tipping regulations took effect April 30, including rules about tip sharing.
Meanwhile, the Department of Labor is considering additional changes to tipping
regulations and Congress is debating the Raise the Wage Act, which would eliminate the
tip credit.

Angelo Amador, head of the Restaurant Law Center, hosted Paul DeCamp to outline “The
Future of Tipping Under the Biden Administration” in the Restaurant Law Center’s recent
monthly webinar. A former administrator of DOL’s Wage and Hour Division, DeCamp is
national co-chair of law }rm Epstein Becker Green’s wage and hour practice. Here are
some of the pressing questions DeCamp and Amador addressed during the recent
webinar, which is available to watch on demand.

What is the “tip credit”?

The Fair Labor Standards Act requires that restaurant employees earn minimum wage or
higher. The tip credit allows restaurants to satisfy a portion of the minimum wage
obligation through tips. No tipped employee ever makes less than the required minimum
wage. [Tipped restaurant employees on average make between $19-$25/hour, according to
National Restaurant Association research.] Seven states disallow the tip credit under state
law: Alaska, California, Minnesota, Montana, Nevada, Oregon, and Washington.

Can tips received by front-of-the-house (FOH) employees be shared with back-of-the
house (BOH) employees?                                                     EXHIBIT
                                                                                     7
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A 1974 FLSA amendment                   Document
                           clearly states        20 Filedtip
                                          that FOH/BOH     01/20/22
                                                             sharingPage 65 of 73
                                                                    is impermissible if the
restaurant takes a tip credit for any of the employees involved.Ú

But what if a tip credit isn’t applied?Ú

As of April 30, DOL regulations now permit tip-sharing with BOH employees, such as
dishwashers or line cooks, as long as the restaurant is not taking a tip credit for any of the
employees.Ú

What is the 80/20 rule?

This DOL rule prohibits restaurants from taking a tip credit for time an employee spends on
side work tasks—such as rolling silverware or setting up for a shift—if that time exceeds
20% of the employee’s working time.Ú

Didn’t the Trump Administration eliminate the 80/20 rule?

In December 2020, DOL issued a Final Rule removing any limits on the amount of time a
tipped employee may spend on non-tipped duties as long as they are performed
“contemporaneously with tipped duties, or for a reasonable time immediately before or
after” tipped duties. The change was slated to go into effect March 1. “It looked at that point
like the 80/20 rule was gone,” explains DeCamp.Ú

But the Biden Administration slammed the brakes on this change and opened the issue
up for more comments. The DOL is now reviewing comments and has delayed any
changes to the 80/20 rule until December 31, 2021. The Restaurant Law Center submitted
comments underscoring that the restaurant industry has faced unique harm during the
pandemic, making it important for DOL to }nalize the rule and avoid causing further costs
and losses for the industry.

Any advice on how to comply with the 80/20 rule?

DeCamp offers three strategies:

1) Eliminate or reduce the time tipped employees engage in opening or closing tasks that
count toward the 20% of non-tipped time.

2) Require employees to clock in at the full minimum wage rate for shift prep until the
restaurant opens. “Then clock out, and clock back in at a tipped wage,” DeCamp suggests.Ú

3) Consider assigning side work to designated employees earning minimum wage. “If you
can of~oad the side work from the tipped employees, then in a lot of ways you do away
with this 80/20 issue, or at least signi}cantly reduce the risk.”

Can supervisors/managers participate in tip pools?Ú
Effective April Case 1:21-cv-01106-RP
                30, managers           Document
                               and supervisors   20prohibited
                                               are   Filed 01/20/22 Page 66 ofemployees’
                                                               from receiving 73         tips
as part of any tip pooling arrangement.Ú

The question is: How do you de}ne “supervisor”? For example, is a “head server” a
supervisor? DOL tried to clarify this with its December 2020 Final Rule, which recognized
that an hourly employee with a title of “head,” “chief,” or “lead” might not legally be a
supervisor. The Biden Administration halted this part of the rule, leaving the de}nition
nebulous. The matter is now open for comments until May 24.

How would the Raise the Wage Act impact restaurants?

The Raise the Wage Act would raise the federal minimum wage from $7.25 to $15 per hour
over }ve years. It would also eliminate the tip credit. Currently, federal law requires
restaurants to pay tipped employees a minimum of $2.13 per hour, with tips bringing the
wage up to—and often beyond—minimum wage. [If the combined wage is not equal to the
required hourly minimum wage, the restaurant operator is required by law to make up the
difference.]

The Raise the Wage Act would phase out the tip credit by increasing the minimum pre-tip
hourly wage to $4.95, with annual increases of $2 per hour each year until reaching the
federal minimum wage. Sen. Bernie Sanders (I-VT) introduced the bill in January with 37
co-sponsors. DeCamp does not expect it to garner enough support to pass.

What’s the future of the tip credit?

Be prepared for ongoing attempts to eliminate the tip credit. DeCamp points to efforts in
Washington, D.C., Michigan, and Maine. So far, these initiatives have been squashed by local
legislatures. “Grassroots groups are going state to state,” says DeCamp. “If they can’t get it
done at the federal level, they’re going to try hard on a state-by-state basis to get rid of the
tip credit. This is an ongoing issue to be mindful of.”

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                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 RESTAURANT LAW CENTER, et al.,
                      Plaintiffs,
               v.                                      Civil Action No. 21-1106 (RP)
 U.S. DEPARTMENT OF LABOR, et al.,
                      Defendants.

                                    PROPOSED ORDER

       Upon consideration of Plaintiffs’ motion for a preliminary injunction and the memoranda

in support thereof and in opposition thereto, it is hereby ORDERED that the motion is DENIED.



 Dated:
                                               ROBERT PITMAN
                                               United States District Judge
         Case 1:21-cv-01106-RP Document 20 Filed 01/20/22 Page 73 of 73




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 RESTAURANT LAW CENTER, et al.,
                        Plaintiffs,
                v.                                          Civil Action No. 21-1106 (RP)
 U.S. DEPARTMENT OF LABOR, et al.,
                        Defendants.


                              CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused a true and correct copy of Defendant’s opposition

to Plaintiffs’ motion for a preliminary injunction to be served on counsel of record by filing it with

the Court’s CM/ECF system.


 Dated: January 19, 2022                              /s/ Johnny Walker
                                                    JOHNNY H. WALKER
                                                    Attorney for Defendants
